                Case 3:23-cv-00073-SMR-WPK
12/21/23, 5:19 PM                                                                     Document      31-2and Party
                                                                                       Register of Actions  Filed    12/29/23
                                                                                                                  Information                                   Page 1 of 20
      Register of Actions                                                             EXHIBIT B
                   Filed by People              Case Number: 2014CR000437                                                             Division: COC
                   Filed by Defendant               Case Type: Theft                                                         Judicial Officer: Stephen Enderlin Howard
                   Filed by Court               Case Caption: The People of the State of Colorado v.                         Court Location: Boulder County
                                                              Cohen, Emily Elizabeth
                   Filed by Probation                                                                                        Appellate Case
                                                                                                                                            2015CA982 - Court of Appeals
                                                                                                                                   Number:
                                                                                                                                            2021SA207 - Supreme Court
                                                                                                                                            2020SA129 - Supreme Court
                                                                                                                                            2022CA77 - Court of Appeals


       Filing ID          Date Filed         Authorizer          Organization         Filing Party      Document                           Document Title                      Document Security

       N/A                01/24/2023         N/A                 N/A                  N/A               Filing Other                       N/A

       N/A                12/28/2022         N/A                 N/A                  N/A               Reopen - Post Judgment             N/A

       N/A                12/21/2022         N/A                 N/A                  N/A               Case Closed - Post Judgment        N/A

       N/A (Details)      12/19/2022 4:11 PM Stephen Enderlin    Boulder County       N/A               Order                              Order:Notice Regarding Settling     Public
                                             Howard                                                     (Related Document)                 of Record on Appeal and Motion
                                                                                                                                           to Vacate Status Hearing on
                                                                                                                                           December 29 2022

       FC75766A87C67      12/13/2022 2:19    Suzan Trinh Almony Law Office of Suzan   Emily Elizabeth   Notice                             Notice Regarding Settling of        Public
                          PM                                    Trinh Almony          Cohen             (Related Document)                 Record on Appeal and Motion to
                                                                                                                                           Vacate Status Hearing on
                                                                                                                                           December 29 2022

       N/A (Details)      11/18/2022 12:06   Stephen Enderlin    Boulder County       N/A               Minute Order - No Print            Status Set 12/29/22                 Public
                          PM                 Howard

       N/A                11/17/2022         N/A                 N/A                  N/A               Reopen - Post Judgment             N/A

       N/A (Details)      10/21/2022 2:49    Marizela Cano       Boulder County       N/A               Order                              Order from COA - 14CR437 -          Public
                          PM                                                                                                               Motion to Stay Proceedings in
                                                                                                                                           Order to Settle the Record
                                                                                                                                           Granted

       N/A (Details)      09/27/2022 12:00   Marizela Cano       Boulder County       N/A               Order                              Order from COA - 22CA77 -           Public
                          AM                                                                                                               Supplemental Record Vacated

       N/A (Details)      09/09/2022 3:43    Non-Party           N/A                  Non-Party         Affidavit                          Appeals Clerk Affidavit Regarding   Public
                          PM                                                                                                               the Record on Appeal

       N/A (Details)      08/15/2022 12:00   Marizela Cano       Boulder County       N/A               Order                              Order from COA - 22CA77 -           Public
                          AM                                                                                                               Supplemental Record Granted

       N/A (Details)      07/06/2022 11:38   Marizela Cano       Boulder County       N/A               Notice of Electronic Record        Notice of Electronic Record         Public
                          AM                                                                            Certified to COA or SC             Certified to COA or SC

       N/A (Details)      06/01/2022 4:00    Marizela Cano       Boulder County       N/A               Order                              Order from COA - 22CA77 -           Public
                          PM                                                                                                               Extension of Time to Transmit
                                                                                                                                           Supplemental Record Granted

       N/A (Details)      05/31/2022 4:18    Non-Party           N/A                  Non-Party         Affidavit                          Appeals Clerk Affidavit Regarding   Public
                          PM                                                                                                               the Record on Appeal

       N/A (Details)      04/25/2022 4:18    Marizela Cano       Boulder County       N/A               Order                              Order from COA - 22CA77 -           Public
                          PM                                                                                                               Supplemental Record Granted

       7515D7A8BDA3C      04/11/2022 5:45 PM Suzan Trinh Almony Law Office of Suzan   Emily Elizabeth   Designation of Record on Appeal    Designation of Record on Appeal     Public
                                                                Trinh Almony          Cohen

       44D2728E990FF      04/11/2022 11:19   Darren Randal       Alternate Defense    Emily Elizabeth   Request                            Transcript Request Form             Public
                          AM                 Cantor              Counsel              Cohen

       N/A (Details)      03/18/2022 12:03   Marizela Cano       Boulder County       N/A               Notice of Electronic Record        Notice of Electronic Record         Public
                          PM                                                                            Certified to COA or SC             Certified to COA or SC

       N/A (Details)      02/25/2022 2:39    Marizela Cano       Boulder County       N/A               Order                              Order from COA - 22CA77 - Order     Public
                          PM                                                                                                               to Show Cause Discharged

       N/A (Details)      02/16/2022 4:44    Stephen Enderlin    Boulder County       N/A               Order                              Order Finding Indigency             Public
                          PM                 Howard

       N/A (Details)      02/15/2022 12:17   Stephen Enderlin    Boulder County       N/A               Order                              Order:Notice of Conflict            Public
                          PM                 Howard                                                     (Related Document)

       N/A (Details)      02/08/2022 4:15    Non-Party           N/A                  Non-Party         Letter                             Letter From SCAO - Appointment      Public
                          PM                                                                                                               of VJ Judge Howard

       1E40CE0537C7F      02/03/2022 9:42    Nicole Collins      Boulder Public       Emily Elizabeth   Notice                             Notice of Conflict                  Public
                          AM                                     Defenders Office     Cohen             (Related Document)

       N/A (Details)      01/30/2022 5:41    Stephen Enderlin    Boulder County       N/A               Order                              Order:Defendant Second Motion       Public
                          PM                 Howard                                                     (Related Document)                 to Appoint the Appellate Public
                                                                                                                                           Defender and Defendant First
                                                                                                                                           Notice of Appeal

       N/A (Details)      01/19/2022         Ingrid Bakke        Boulder County       N/A               Order                              Order of Recusal                    Public

       N/A (Details)      01/18/2022 3:59    Non-Party           N/A                  Non-Party         Advisory Notice - NAPF             Advisory Notice - NAPF - 22CA77     Public
                          PM

       N/A (Details)      01/13/2022         N/A                 N/A                  Emily Elizabeth   Exhibit - Attach to Pleading/Doc   Exhibit - Attach to Pleading/Doc    Protected
                                                                                      Cohen


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                Case 3:23-cv-00073-SMR-WPK
12/21/23, 5:19 PM                                                                   Document      31-2and Party
                                                                                     Register of Actions  Filed    12/29/23
                                                                                                                Information                                 Page 2 of 20
       Filing ID       Date Filed         Authorizer       Organization
                                                                                    EXHIBIT B
                                                                                    Filing Party        Document                         Document Title                      Document Security
                                                                                                        (Related Document)

       N/A (Details)   01/13/2022         N/A              N/A                      Emily Elizabeth     Application - CAC/State Paid     Application - CAC/State Paid        Suppressed
                                                                                    Cohen               Professional                     Professional

       N/A (Details)   01/13/2022         N/A              N/A                      Emily Elizabeth     Notice of Appeal                 Notice of Appeal                    Public
                                                                                    Cohen               (Related Document)

       N/A (Details)   01/13/2022         N/A              N/A                      Emily Elizabeth     Motion                           Defendant Second Motion to          Public
                                                                                    Cohen               (Related Document)               Appoint the Appellate Public
                                                                                                                                         Defender and Defendant First
                                                                                                                                         Notice of Appeal

       N/A             12/17/2021         N/A              N/A                      N/A                 JTRL Dispo - Trial Not Held      N/A

       N/A (Details)   12/09/2021 11:50   Andrew Hartman   Boulder County           N/A                 Order                            Order:Defendant's Motion            Public
                       AM                                                                               (Related Document)               Requesting the District Court
                                                                                                                                         Appoint the Colorado Appellate
                                                                                                                                         Public Defender for an Appeal
                                                                                                                                         Pursuant to, and as Required
                                                                                                                                         ("SHALL") by, 21-1-103, CRS
                                                                                                                                         (2014) & Chief Justice Directive
                                                                                                                                         04-04

       N/A (Details)   12/09/2021 11:30   Non-Party        N/A                      Non-Party           Application - CAC/State Paid     Application - CAC/State Paid        Protected
                       AM                                                                               Professional                     Professional
                                                                                                        (Related Document)

       N/A (Details)   12/09/2021 11:29   N/A              N/A                      Emily Elizabeth     Motion                           Defendant's Motion Requesting       Public
                       AM                                                           Cohen               (Related Document)               the District Court Appoint the
                                                                                                                                         Colorado Appellate Public
                                                                                                                                         Defender for an Appeal Pursuant
                                                                                                                                         to, and as Required ("SHALL") by,
                                                                                                                                         21-1-103, CRS (2014) & Chief
                                                                                                                                         Justice Directive 04-04

       N/A (Details)   12/08/2021 8:03    Andrew Hartman   Boulder County           N/A                 Order                            Order: Motion to Add Count          Public
                       AM                                                                               (Related Document)               Fourteen- Granted

       N/A (Details)   12/08/2021 8:03    Andrew Hartman   Boulder County           N/A                 Order                            Order: Motion to Dismiss Counts     Public
                       AM                                                                               (Related Document)               Plea Agreement- Granted

       N/A (Details)   12/07/2021 12:33   Andrew Hartman   Boulder County           N/A                 Order                            Sentence Order - Resentencing       Public
                       PM

       N/A             12/07/2021         N/A              N/A                      N/A                 Case Closed - Post Judgment      N/A

       N/A             12/07/2021         N/A              N/A                      N/A                 Case Closed - Post Judgment      N/A

       1BBA6861A9D41   12/06/2021 10:19   Anne Elizabeth   20th Judicial District   The People of the   Motion                           Motion to Add Count Fourteen        Public
                       AM                 Kelly            Attorneys Office         State of Colorado   (Related Document)

       N/A (Details)   12/06/2021 10:07   Andrew Hartman   Boulder County           N/A                 Order                            Order: Plea Agreement,              Public
                       AM                                                                               (Related Document)               Advisement Pursuant to Criminal
                                                                                                                                         Procedure Rule 11 and Plea of
                                                                                                                                         Guilty- Approved

       N/A (Details)   12/06/2021 9:51    Andrew Hartman   Boulder County           N/A                 Order                            Order: Motion to Add Count          Public
                       AM                                                                               (Related Document)               Fourteen- Granted

       N/A (Details)   12/06/2021 9:48    N/A              N/A                      The People of the   Plea Agreement                   Plea Agreement, Advisement          Public
                       AM                                                           State of Colorado   (Related Document)               Pursuant to Criminal Procedure
                                                                                                                                         Rule 11 and Plea of Guilty

       N/A (Details)   12/06/2021 9:46    N/A              N/A                      The People of the   Motion                           Motion to Add Count Fourteen        Public
                       AM                                                           State of Colorado   (Related Document)

       N/A (Details)   12/06/2021 9:43    Andrew Hartman   Boulder County           N/A                 Minute Order - No Print          Minute Order - Disposition          Public
                       AM

       N/A (Details)   12/06/2021 9:43    Non-Party        N/A                      Non-Party           Report                           CCIC Report                         Sealed
                       AM

       N/A (Details)   12/06/2021 9:42    Non-Party        N/A                      Non-Party           Arrest Report                    Arrest Report                       Protected
                       AM

       5FB03AAA25804   12/06/2021 9:01    Anne Elizabeth   20th Judicial District   The People of the   Plea Agreement                   Motion to Dismiss Counts Plea       Public
                       AM                 Kelly            Attorneys Office         State of Colorado   (Related Document)               Agreement

       N/A             12/06/2021         N/A              N/A                      N/A                 Warrant Canceled                 N/A

       5D1195FFF5068   12/03/2021 5:56    Anne Elizabeth   20th Judicial District   The People of the   Jury Instructions - Proposed     PEOPLE'S PROPOSED JURY              Protected
                       PM                 Kelly            Attorneys Office         State of Colorado                                    INSTRUCTIONS

       3D2F7BCCBCF05   12/03/2021 5:40    Anne Elizabeth   20th Judicial District   The People of the   Witness List                     People's Witness List               Public
                       PM                 Kelly            Attorneys Office         State of Colorado

       N/A (Details)   12/03/2021 11:43   Andrew Hartman   Boulder County           N/A                 Order                            Order:Notice of Endorsement of      Public
                       AM                                                                               (Related Document)               Rebuttal Expert Witnesses

       N/A             12/03/2021         N/A              N/A                      N/A                 Law Enforcement Warrant Cancel   N/A

       N/A (Details)   12/02/2021 2:20    Andrew Hartman   Boulder County           N/A                 Notice of Hearing                Notice of Trial                     Public
                       PM

       N/A (Details)   12/01/2021 8:32    Andrew Hartman   Boulder County           N/A                 Order                            Order:People's Motion in Limine     Public
                       AM                                                                               (Related Document)

       28E1BB675916C   12/01/2021 8:30    Anne Elizabeth   20th Judicial District   The People of the   Notice                           Notice of Endorsement of            Public
                       AM                 Kelly            Attorneys Office         State of Colorado   (Related Document)               Rebuttal Expert Witnesses




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                Case 3:23-cv-00073-SMR-WPK
12/21/23, 5:19 PM                                                                   Document      31-2and Party
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                                                                                    EXHIBIT B
                                                                                    Filing Party        Document                           Document Title                       Document Security

       A7B331514FDC6   11/29/2021 6:32 PM Anne Elizabeth   20th Judicial District   The People of the   Motion                             People's Motion in Limine            Public
                                          Kelly            Attorneys Office         State of Colorado   (Related Document)

       N/A (Details)   11/29/2021 8:46 AM Andrew Hartman   Boulder County           N/A                 Order                              Order:Complaint and Warrant          Public
                                                                                                        (Related Document)

       N/A (Details)   11/23/2021 2:02 PM Probation        N/A                      N/A                 Complaint for Revocation of        Complaint and Warrant                Public
                                                                                                        Probation
                                                                                                        (Related Document)

       N/A (Details)   11/23/2021 11:29   Andrew Hartman   Boulder County           N/A                 Minute Order - Print               MINUTE ORDER: TRIAL                  Public
                       AM                                                                                                                  READINESS HEARING

       N/A (Details)   11/10/2021 3:15 PM Andrew Hartman   Boulder County           N/A                 Order                              Order:People's Motion for a Video    Public
                                                                                                        (Related Document)                 Writ

       336C17844FE62   11/10/2021 11:25   Anne Elizabeth   20th Judicial District   The People of the   Motion                             People's Motion for a Video Writ     Public
                       AM                 Kelly            Attorneys Office         State of Colorado   (Related Document)

       N/A (Details)   11/03/2021 9:40 AM Andrew Hartman   Boulder County           N/A                 Order                              Order:People's Motion for            Public
                                                                                                        (Related Document)                 Protective Order Regarding Victim
                                                                                                                                           Information and Discovery

       N/A (Details)   11/03/2021 9:39 AM Andrew Hartman   Boulder County           N/A                 Order                              Order:Defendant's Motion to          Public
                                                                                                        (Related Document)                 Dismiss for Lack of Jurisdiction
                                                                                                                                           and Denial of Due Process; and
                                                                                                                                           Alternatively, Defendant's
                                                                                                                                           Response to the People's Motion
                                                                                                                                           for Protective Order; and
                                                                                                                                           Defendant's Notice Per Admin
                                                                                                                                           Order 21-116

       N/A (Details)   11/02/2021 1:36 PM Andrew Hartman   Boulder County           N/A                 Minute Order - No Print            Minute Order Re: Trial Readiness     Public
                                                                                                                                           Hearing

       N/A (Details)   11/02/2021 10:05   N/A              N/A                      The People of the   Exhibits - Trial/Hearing           People's Exhibits 1-3                Public
                       AM                                                           State of Colorado

       N/A (Details)   11/02/2021 12:00   N/A              N/A                      Emily Elizabeth     Exhibit - Attach to Pleading/Doc   Exhibit - Attach to Pleading/Doc     Protected
                       AM                                                           Cohen               (Related Document)

       N/A (Details)   11/02/2021 12:00   N/A              N/A                      Emily Elizabeth     Motion                             Defendant's Motion to Dismiss for    Public
                       AM                                                           Cohen               (Related Document)                 Lack of Jurisdiction and Denial of
                                                                                                                                           Due Process; and Alternatively,
                                                                                                                                           Defendant's Response to the
                                                                                                                                           People's Motion for Protective
                                                                                                                                           Order; and Defendant's Notice
                                                                                                                                           Per Admin Order 21-116

       N/A             11/02/2021 12:00   N/A              N/A                      N/A                 Warrant - Detained                 N/A
                       AM

       N/A             11/02/2021 12:00   N/A              N/A                      N/A                 Warrant - Failure to Appear        N/A
                       AM

       N/A (Details)   11/01/2021 11:47   N/A              N/A                      Emily Elizabeth     Motion                             Defendant's Motion to Dismiss for    Public
                       AM                                                           Cohen                                                  Lack of Jurisdiction and Denial of
                                                                                                                                           Due Process; and Alternatively,
                                                                                                                                           Defendant's Response to the
                                                                                                                                           People's Motion for Protective
                                                                                                                                           Order; and Defendant's Notice
                                                                                                                                           Per Admin Order 21-116

       A7C1A276FD18A   11/01/2021 9:59 AM Anne Elizabeth   20th Judicial District   The People of the   Notice                             People's Notice of Endorsement       Public
                                          Kelly            Attorneys Office         State of Colorado                                      of Expert Witness

       N/A (Details)   10/18/2021 8:18    Andrew Hartman   Boulder County           N/A                 Order                              Order:People's Motion for            Public
                       AM                                                                               (Related Document)                 Protective Order Regarding Victim
                                                                                                                                           Information and Discovery

       2A8EE8C976E34   10/15/2021 11:11   Anne Elizabeth   20th Judicial District   The People of the   Exhibit - Attach to Pleading/Doc   Ex. 1 blog post about Tayde          Protected
                       AM                 Kelly            Attorneys Office         State of Colorado   (Related Document)                 Jimenez




                                                                                                        Motion                             People's Motion for Protective       Protected
                                                                                                        (Related Document)                 Order Regarding Victim
                                                                                                                                           Information and Discovery




                                                                                                        Exhibit - Attach to Pleading/Doc   Ex. 2 Twitter post                   Protected




                                                                                                        Exhibit - Attach to Pleading/Doc   Ex. 3 Twitter caption                Protected

       N/A (Details)   09/16/2021 8:22    Andrew Hartman   Boulder County           N/A                 Order                              Order:Motion to Withdraw as          Public
                       AM                                                                               (Related Document)                 Advisory Counsel

       E29D3D0A5D447   09/01/2021 7:00    Martha Horwitz   Martha H Eskesen PC Emily Elizabeth          Motion to Withdraw                 Motion to Withdraw as Advisory       Public
                       PM                 Eskesen                              Cohen                    (Related Document)                 Counsel

       N/A (Details)   08/27/2021 8:43    Andrew Hartman   Boulder County           N/A                 Order                              Order: Appointment of Advisory       Public
                       AM                                                                                                                  Counsel




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                Case 3:23-cv-00073-SMR-WPK
12/21/23, 5:19 PM                                                                       Document      31-2and Party
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                                                                                        EXHIBIT B
                                                                                        Filing Party        Document                           Document Title                      Document Security

       N/A             08/26/2021 12:00   N/A                  N/A                      N/A                 CACN                               N/A
                       AM

       N/A             08/26/2021 12:00   N/A                  N/A                      N/A                 Court Appointed Attorney - Other   N/A
                       AM

       N/A (Details)   08/11/2021 11:08   Andrew Hartman       Boulder County           N/A                 Filing Other                       Minute Order Attachment             Public
                       AM

       N/A (Details)   08/11/2021 11:06   Andrew Hartman       Boulder County           N/A                 Minute Order - No Print            Minute Order Regarding August 9,    Public
                       AM                                                                                                                      2021 Status Conference

       N/A (Details)   08/11/2021 10:55   Andrew Hartman       Boulder County           N/A                 Minute Order - No Print            Minute Order Regarding August 9,    Sealed
                       AM                                                                                                                      2021 Status Conference

       N/A (Details)   08/09/2021 5:00    Andrew Hartman       Boulder County           N/A                 Notice of Hearing                  Notice of Hearing                   Public
                       PM

       N/A (Details)   08/02/2021 1:20    Andrew Hartman       Boulder County           N/A                 Order                              Order: Motion to Quash Arrest       Public
                       PM                                                                                   (Related Document)                 Warrant

       5C6DD7DE7B794   08/02/2021 11:55   Anne Elizabeth       20th Judicial District   The People of the   Response                           People's Response to                Public
                       AM                 Kelly                Attorneys Office         State of Colorado                                      Defendant's Motion to Reconsider
                                                                                                                                               Warrant Issuance

       N/A             08/02/2021 12:00   N/A                  N/A                      N/A                 Warrant Quashed                    N/A
                       AM

       N/A (Details)   07/30/2021 10:04   Andrew Hartman       Boulder County           N/A                 Order                              Order:Motion to Quash Arrest        Public
                       AM                                                                                   (Related Document)                 Warrant

       FCA4D5C75AE65   07/28/2021 8:11 PM Natischa Rose        Parker Law Group         Emily Elizabeth     Motion                             Motion to Quash Arrest Warrant      Public
                                          Volpe                                         Cohen               (Related Document)



                                                                                                            Exhibit - Attach to Pleading/Doc   Exhibit A                           Protected

       N/A (Details)   07/26/2021 8:38    Andrew Hartman       Boulder County           N/A                 Order                              Order:Motion to Reconsider          Public
                       AM                                                                                   (Related Document)                 Orders of July 14, 2021

       N/A (Details)   07/23/2021 10:40   N/A                  N/A                      The People of the   Notice                             Notice of Physical Submission of    Public
                       AM                                                               State of Colorado                                      CDs

       A9A62CF18E501   07/22/2021 7:10    Anne Elizabeth       20th Judicial District   The People of the   Response                           People's Response to Motion to      Protected
                       PM                 Kelly                Attorneys Office         State of Colorado                                      Reconsider Courts Orders of July
                                                                                                                                               14, 2021

       N/A (Details)   07/19/2021 11:44   Andrew Hartman       Boulder County           N/A                 Order                              Order:Motion to Reconsider          Public
                       AM                                                                                   (Related Document)                 Orders of July 14, 2021

       N/A             07/19/2021 12:00   N/A                  N/A                      N/A                 Warrant Canceled                   N/A
                       AM

       6D8A48E61CEEF   07/16/2021 12:56   Jonathan S Willett   Law Offices of           Emily Elizabeth     Motion                             Motion to Reconsider Orders of      Public
                       PM                                      Jonathan S Willett       Cohen               (Related Document)                 July 14, 2021



                                                                                                            Exhibit - Attach to Pleading/Doc   Exhibit - Covid medical excuse      Suppressed
                                                                                                                                               letter University of Iowa

       N/A (Details)   07/15/2021 8:22    Andrew Hartman       Boulder County           N/A                 Minute Order - No Print            Minute Order Regarding July 14,     Public
                       AM                                                                                                                      2021 Status Conference

       N/A             07/15/2021 12:00   N/A                  N/A                      N/A                 Warrant - Failure to Appear        N/A
                       AM

       N/A             07/15/2021 12:00   N/A                  N/A                      N/A                 Warrant - Failure to Appear        N/A
                       AM

       N/A (Details)   07/14/2021 10:22   Marizela Cano        Boulder County           N/A                 Order                              Order from CSC - 21SA207 -          Public
                       AM                                                                                                                      Petition for Rule to Show Cause
                                                                                                                                               Denied

       N/A (Details)   07/13/2021 1:16    Andrew Hartman       Boulder County           N/A                 Order                              Order: In Person Hearing            Public
                       PM                                                                                                                      Required

       N/A (Details)   07/13/2021 12:00   Marizela Cano        Boulder County           N/A                 Order                              Order from CSC - 21SA207 -          Public
                       AM                                                                                                                      Motion for Temporary Stay Denied

       N/A (Details)   07/12/2021 8:46    Andrew Hartman       Boulder County           N/A                 Minute Order - No Print            Minute Order Regarding July 9,      Public
                       AM                                                                                                                      2021 Status Conference

       N/A (Details)   07/08/2021 12:00   Andrew Hartman       Boulder County           N/A                 Order                              Order:CDHS Competency               Suppressed
                       AM                                                                                   (Related Document)                 Evaluation

       N/A (Details)   07/07/2021 2:42    Marizela Cano        Boulder County           N/A                 Report                             CDHS Competency Evaluation          Suppressed
                       PM                                                                                   (Related Document)

       N/A (Details)   06/21/2021 8:14    Andrew Hartman       Boulder County           N/A                 Order                              Order:Motion to Reconsider Order    Public
                       AM                                                                                   (Related Document)                 on Motion for Forthwith Hearing

       1C1EF1C83FEB4   06/02/2021 2:18    Jonathan S Willett   Law Offices of           Emily Elizabeth     Motion                             Motion to Reconsider Order on       Public
                       PM                                      Jonathan S Willett       Cohen               (Related Document)                 Motion for Forthwith Hearing

       N/A (Details)   05/25/2021 10:56   Andrew Hartman       Boulder County           N/A                 Order                              Order:Motion for Forthwith Status   Public
                       AM                                                                                   (Related Document)                 and Hearing Pursuant to People v.
                                                                                                                                               Arguello, 772 P.2d 87 (Colo.
                                                                                                                                               1989)

       78176345FBE04   05/24/2021 3:51    Natischa Rose        Parker Law Group         Emily Elizabeth     Notice                             Notice of Firm Name Change          Public
                       PM                 Volpe                                         Cohen


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                Case 3:23-cv-00073-SMR-WPK
12/21/23, 5:19 PM                                                                       Document      31-2and Party
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       Filing ID       Date Filed         Authorizer           Organization
                                                                                        EXHIBIT B
                                                                                        Filing Party        Document                           Document Title                         Document Security

       4CB5D5381E964   05/21/2021 3:15    Jonathan S Willett   Law Offices of           Emily Elizabeth     Motion                             Motion for Forthwith Status and        Public
                       PM                                      Jonathan S Willett       Cohen               (Related Document)                 Hearing Pursuant to People v.
                                                                                                                                               Arguello, 772 P.2d 87 (Colo.
                                                                                                                                               1989)

       N/A (Details)   05/20/2021 1:45    Andrew Hartman       Boulder County           N/A                 Notice of Hearing                  Notice of Hearing                      Public
                       PM

       N/A (Details)   05/20/2021 1:37    Andrew Hartman       Boulder County           N/A                 Order                              Order:CDHS Extension Request           Public
                       PM                                                                                   (Related Document)

       N/A (Details)   05/20/2021 1:30    Non-Party            N/A                      Non-Party           Letter                             CDHS Extension Request                 Public
                       PM                                                                                   (Related Document)

       2EE9293F4AE7E   05/18/2021 4:12    Jonathan S Willett   Law Offices of           Emily Elizabeth     Reply                              Reply to Responds [sic] to Motion      Protected
                       PM                                      Jonathan S Willett       Cohen                                                  to Withdraw

       N/A (Details)   05/18/2021 2:11 PM Andrew Hartman       Boulder County           N/A                 Order                              Order:People's Response to             Public
                                                                                                            (Related Document)                 Defense Counsel's Motion to
                                                                                                                                               Withdraw

       3CFE11014EF5C   05/13/2021 3:54    Anne Elizabeth       20th Judicial District   The People of the   Exhibit - Attach to Pleading/Doc   Exhibit People's Response to           Protected
                       PM                 Kelly                Attorneys Office         State of Colorado   (Related Document)                 Defense Counsel's Motion to
                                                                                                                                               Withdraw

       CC215269797A6   05/13/2021 3:52    Anne Elizabeth       20th Judicial District   The People of the   Response                           People's Response to Defense           Public
                       PM                 Kelly                Attorneys Office         State of Colorado   (Related Document)                 Counsel's Motion to Withdraw

       59F5BD81CCA27   05/05/2021 4:19    Natischa Rose        Volpe Law LLC            Emily Elizabeth     Notice                             Notice to Withdraw                     Public
                       PM                 Volpe                                         Cohen               (Related Document)



                                                                                                            Motion to Withdraw                 Motion to Withdraw                     Public
                                                                                                            (Related Document)

       N/A (Details)   05/05/2021 8:00    Andrew Hartman       Boulder County           N/A                 Filing Other                       Email Request                          Public
                       AM

       DDE2601AEDC96   04/28/2021 6:05    Jonathan S Willett   Law Offices of           Emily Elizabeth     Motion to Withdraw                 Motion to Withdraw                     Public
                       PM                                      Jonathan S Willett       Cohen               (Related Document)




                                                                                                            Notice                             Notice to client re withdrawal         Public
                                                                                                            (Related Document)

       N/A (Details)   04/20/2021 3:45    Non-Party            N/A                      Non-Party           Letter                             CDHS Extension Request                 Suppressed
                       PM

       N/A             03/12/2021         N/A                  N/A                      N/A                 JTRL Dispo - Continued             N/A

       N/A (Details)   03/11/2021 8:50 AM Andrew Hartman       Boulder County           N/A                 Order                              Order: In Camera Review of SDT         Public
                                                                                                                                               dated 2/10/2021

       N/A             03/05/2021         N/A                  N/A                      N/A                 JTRL Dispo - Continued             N/A

       N/A (Details)   03/03/2021 10:44   Andrew Hartman       Boulder County           N/A                 Minute Order - No Print            Minute Order Re: Status                Public
                       AM                                                                                                                      Conference and Hearing on
                                                                                                                                               Motions

       BB1EA460BD1F9   03/02/2021 12:20   Jonathan S Willett   Law Offices of           Emily Elizabeth     Notice                             Notice of Delivery                     Public
                       PM                                      Jonathan S Willett       Cohen

       N/A (Details)   02/25/2021 2:35    Andrew Hartman       Boulder County           N/A                 Order                              Order:People's Motion to Modify        Public
                       PM                                                                                   (Related Document)                 Conditions of Defendant's Bond

       N/A (Details)   02/25/2021 11:49   Andrew Hartman       Boulder County           N/A                 Filing Other                       Attachment to Minute Order             Public
                       AM

       N/A (Details)   02/25/2021 11:28   Andrew Hartman       Boulder County           N/A                 Minute Order - No Print            Minute Order Re: Status                Public
                       AM                                                                                                                      Conference

       N/A (Details)   02/25/2021         Andrew Hartman       Boulder County           N/A                 Order for In-Office Competency     Order for In-Office Competency         Suppressed
                                                                                                            Evaluation JDF 33                  Evaluation

       N/A (Details)   02/25/2021         Andrew Hartman       Boulder County           N/A                 Referral for Court Ordered         Referral for Court Ordered             Suppressed
                                                                                                            Observations JDF 31                Evaluations and Incompetent to
                                                                                                                                               Proceed (ITP) Commitments

       N/A             02/25/2021         N/A                  N/A                      N/A                 Mental Health Stay Ordered         N/A

       N/A (Details)   02/24/2021 2:30    Andrew Hartman       Boulder County           N/A                 Order                              Order:Notice Pursuant to C.R.S.        Public
                       PM                                                                                   (Related Document)                 16-8-107

       539B042775738   02/24/2021 1:04    Anne Elizabeth       20th Judicial District   The People of the   Motion                             People's Motion to Modify              Public
                       PM                 Kelly                Attorneys Office         State of Colorado   (Related Document)                 Conditions of Defendant's Bond

       715A8FE51C205   02/23/2021 4:43    Jonathan S Willett   Law Offices of           Emily Elizabeth     Notice                             Notice Pursuant to C.R.S. 16-8-        Public
                       PM                                      Jonathan S Willett       Cohen               (Related Document)                 107

       6C1D5F1AB2EBE   02/22/2021 8:28    Jonathan S Willett   Law Offices of           Emily Elizabeth     Response                           Combined Response to Motions           Public
                       PM                                      Jonathan S Willett       Cohen               (Related Document)                 to Quash



                                                                                                            Exhibits - Trial/Hearing           Exhibits - article detailing Cravitz   Protected
                                                                                                            (Related Document)                 civil rights case

       E6C4B96EA93BB   02/22/2021 4:35    Jonathan S Willett   Law Offices of           Emily Elizabeth     Filing Other                       NOTICE OF SUPPLMENTAL                  Protected
                       PM                                      Jonathan S Willett       Cohen               (Related Document)                 AUTHORITY RE MOTION TO


about:blank                                                                                                                                                                                               5/20
                Case 3:23-cv-00073-SMR-WPK
12/21/23, 5:19 PM                                                                       Document      31-2and Party
                                                                                         Register of Actions  Filed    12/29/23
                                                                                                                    Information                                    Page 6 of 20
       Filing ID       Date Filed         Authorizer           Organization
                                                                                        EXHIBIT B
                                                                                        Filing Party        Document                           Document Title                       Document Security
                                                                                                                                               STRIKE



                                                                                                            Exhibit - Attach to Pleading/Doc   Exhibit -People v. Gilbert           Protected
                                                                                                            (Related Document)

       D0D3BC69C28D1   02/22/2021 2:38    Jonathan S Willett   Law Offices of           Emily Elizabeth     Reply                              SUR-REPLY TO REPLY TO                Protected
                       PM                                      Jonathan S Willett       Cohen                                                  RESPONSE TO MOTION TO
                                                                                                                                               STRIKE TESTIMONY OF KEN
                                                                                                                                               STERN AND KATHERINE
                                                                                                                                               SCHIEVE

       33605D70B42D8   02/21/2021 6:48    Adam D Kendall       20th Judicial District   The People of the   Motion                             People's Motion to Quash             Public
                       PM                                      Attorneys Office         State of Colorado   (Related Document)                 Subpoena Duces Tecum to Marcy
                                                                                                                                               Glenn


                                                                                                            Exhibit - Attach to Pleading/Doc   Exhibit 1 - Attached to People's     Protected
                                                                                                            (Related Document)                 Motion to Quash Subpoena
                                                                                                                                               Duces Tecum to Marcy Glenn

       16A5622FBE863   02/21/2021 4:53    Adam D Kendall       20th Judicial District   The People of the   Motion                             People's Motion to Quash             Public
                       PM                                      Attorneys Office         State of Colorado   (Related Document)                 Subpoena Duces Tecum to Stan
                                                                                                                                               Garnett


                                                                                                            Exhibit - Attach to Pleading/Doc   Exhibit 1 - Attached to People's     Protected
                                                                                                            (Related Document)                 Motion to Quash Subpoena
                                                                                                                                               Duces Tecum to Stan Garnett




                                                                                                            Motion                             People's Motion to Quash             Public
                                                                                                            (Related Document)                 Subpoena Duces Tecum to Jane
                                                                                                                                               Walsh


                                                                                                            Exhibit - Attach to Pleading/Doc   Exhibit 1 - Attached to People's     Protected
                                                                                                            (Related Document)                 Motion to Quash Subpoena
                                                                                                                                               Duces Tecum to Jane Walsh




                                                                                                            Motion                             People's Motion to Quash             Public
                                                                                                            (Related Document)                 Subpoena Duces Tecum to
                                                                                                                                               Former Detective Cravitz




                                                                                                            Exhibit - Attach to Pleading/Doc   Exhibit 1 - Attached to People's     Protected
                                                                                                            (Related Document)                 Motion to Quash Subpoena
                                                                                                                                               Duces Tecum to Former Detective
                                                                                                                                               Cravitz




                                                                                                            Motion                             People's Motion to Quash             Public
                                                                                                            (Related Document)                 Subpoena Duces Tecum to Dr.
                                                                                                                                               Schieve


                                                                                                            Exhibit - Attach to Pleading/Doc   Exhibit 1 - Attached to People's     Protected
                                                                                                            (Related Document)                 Motion to Quash Subpoena
                                                                                                                                               Duces Tecum to Dr. Schieve

       E6014D72107E3   02/19/2021 3:28    Anne Elizabeth       20th Judicial District   The People of the   Motion                             People's Motion in Limine to         Public
                       PM                 Kelly                Attorneys Office         State of Colorado                                      Preclude Non-Occurence
                                                                                                                                               Evidence

       7EB0E2DB6C185   02/19/2021 3:25    Anne Elizabeth       20th Judicial District   The People of the   Motion                             People's Motion in Limine to         Public
                       PM                 Kelly                Attorneys Office         State of Colorado                                      Preclude Irrelevant Evidence from
                                                                                                                                               Prior Prosecution Team

       C2093DF5DF1F4   02/19/2021 3:23    Anne Elizabeth       20th Judicial District   The People of the   Motion                             People's Motion in Limine re         Public
                       PM                 Kelly                Attorneys Office         State of Colorado                                      Collateral
                                                                                                                                               Consequences/Sentencing

       B9AC3EF597E7D   02/19/2021 3:17    Anne Elizabeth       20th Judicial District   The People of the   Notice                             Notice of People's Intent to         Public
                       PM                 Kelly                Attorneys Office         State of Colorado                                      Introduce Transcript

       N/A (Details)   02/19/2021 2:47    Andrew Hartman       Boulder County           N/A                 Order                              Order:Motion for Issuance of Trial   Public
                       PM                                                                                   (Related Document)                 Resumption Order

       61CD0BDCEDF90   02/19/2021 11:53   Anne Elizabeth       20th Judicial District   The People of the   Notice                             NOTICE OF ENDORSEMENT OF             Public
                       AM                 Kelly                Attorneys Office         State of Colorado                                      WITNESS AND UPDATED
                                                                                                                                               INFORMATION FOR
                                                                                                                                               PREVIOUSLY ENDORSED
                                                                                                                                               WITNESS

       959A0F631C6D7   02/18/2021 12:04   Jonathan S Willett   Law Offices of           Emily Elizabeth     Motion                             Motion for Issuance of Trial         Public
                       PM                                      Jonathan S Willett       Cohen               (Related Document)                 Resumption Order



                                                                                                            Exhibit - Attach to Pleading/Doc   Exhibit - trial resumption order     Protected
                                                                                                            (Related Document)                 issued in the 20th JD

       N/A (Details)   02/18/2021 10:55   Andrew Hartman       Boulder County           N/A                 Order                              Order:Motion for Expanded Voir       Public
                       AM                                                                                   (Related Document)                 Dire



about:blank                                                                                                                                                                                             6/20
                Case 3:23-cv-00073-SMR-WPK
12/21/23, 5:19 PM                                                                        Document      31-2and Party
                                                                                          Register of Actions  Filed    12/29/23
                                                                                                                     Information                                    Page 7 of 20
       Filing ID       Date Filed          Authorizer           Organization
                                                                                         EXHIBIT B
                                                                                         Filing Party        Document                           Document Title                       Document Security

       A634188ECB3AC   02/17/2021 4:40     Jonathan S Willett   Law Offices of           Emily Elizabeth     Motion                             Motion for Expanded Voir Dire        Public
                       PM                                       Jonathan S Willett       Cohen               (Related Document)

       6B11EB904F839   02/16/2021 2:57     Anne Elizabeth       20th Judicial District   The People of the   Notice                             Notice of Amended Witness Name       Public
                       PM                  Kelly                Attorneys Office         State of Colorado

       4CDA82BAE4D7D   02/16/2021 11:07    Anne Elizabeth       20th Judicial District   The People of the   Notice                             NOTICE OF AMENDED                    Public
                       AM                  Kelly                Attorneys Office         State of Colorado                                      WITNESS NAME

       5DC77FD7C515F   02/12/2021 6:09     Anne Elizabeth       20th Judicial District   The People of the   Exhibit - Attach to Pleading/Doc   Exhibit 1 -- People's Reply to       Protected
                       PM                  Kelly                Attorneys Office         State of Colorado   (Related Document)                 People's Motion to Strike Untimely
                                                                                                                                                Witness Endorsements

       E92D72EB63133   02/12/2021 6:07     Anne Elizabeth       20th Judicial District   The People of the   Response                           People's Reply to People's Motion    Public
                       PM                  Kelly                Attorneys Office         State of Colorado   (Related Document)                 to Strike Untimely Witness
                                                                                                                                                Disclosures

       278BDD5F62EC9   02/12/2021 4:19     Anne Elizabeth       20th Judicial District   The People of the   Response                           People's Response to the             Public
                       PM                  Kelly                Attorneys Office         State of Colorado                                      Defendant's Motion for Sanctions

       N/A (Details)   02/11/2021 4:55 PM Andrew Hartman        Boulder County           N/A                 Order                              Order:Motion for Sanctions           Public
                                                                                                             (Related Document)

       N/A (Details)   02/11/2021 4:53 PM Andrew Hartman        Boulder County           N/A                 Order                              Order:People's Motion to Quash       Public
                                                                                                             (Related Document)                 Subpoena Duces Tecum to the
                                                                                                                                                Boulder Police Department

       FAA127B7418AE   02/11/2021 4:14 PM Anne Elizabeth        20th Judicial District   The People of the   Notice                             Notice of Endorsement of Witness     Public
                                          Kelly                 Attorneys Office         State of Colorado

       A7C4AF9224ACD   02/11/2021 1:49 PM Jonathan S Willett    Law Offices of           Emily Elizabeth     Response                           Response to Motion to Strike the     Public
                                                                Jonathan S Willett       Cohen               (Related Document)                 Endorsement of Ken Stern and
                                                                                                                                                Dr. Katherine Schieve



                                                                                                             Exhibit - Attach to Pleading/Doc   Exhibit - Stern background           Protected
                                                                                                             (Related Document)




                                                                                                             Exhibit - Attach to Pleading/Doc   Exhibit - Dr. Schieve CV             Protected
                                                                                                             (Related Document)




                                                                                                             Exhibit - Attach to Pleading/Doc   Exhibit - Dr. Schieve summary        Suppressed
                                                                                                             (Related Document)




                                                                                                             Exhibit - Attach to Pleading/Doc   2015 Pleading w Dr. Stevens          Suppressed
                                                                                                             (Related Document)                 Report

       833E1B711D94A   02/10/2021 6:37     Anne Elizabeth       20th Judicial District   The People of the   Exhibit - Attach to Pleading/Doc   Exhibit -- People's Motion to        Protected
                       PM                  Kelly                Attorneys Office         State of Colorado   (Related Document)                 Quash Subpoena Duces Tecum to
                                                                                                                                                the Boulder Police Department

       AA8D19E8F0C72   02/10/2021 6:37     Anne Elizabeth       20th Judicial District   The People of the   Motion                             People's Motion to Quash             Public
                       PM                  Kelly                Attorneys Office         State of Colorado   (Related Document)                 Subpoena Duces Tecum to the
                                                                                                                                                Boulder Police Department

       5478198B3C476   02/10/2021 5:52     Jonathan S Willett   Law Offices of           Emily Elizabeth     Motion                             Motion for Sanctions                 Public
                       PM                                       Jonathan S Willett       Cohen               (Related Document)



                                                                                                             Exhibit - Attach to Pleading/Doc   Exhibit - Garnett interview          Protected
                                                                                                             (Related Document)




                                                                                                             Exhibit - Attach to Pleading/Doc   Exhibit -Glenn billing               Protected
                                                                                                             (Related Document)

       N/A (Details)   02/10/2021 1:51     Andrew Hartman       Boulder County           N/A                 Order                              Order:People's Renewed Notice        Public
                       PM                                                                                    (Related Document)                 of Introduction of Records
                                                                                                                                                Pursuant to C.R.E. 902(11)

       N/A (Details)   02/10/2021 10:43    Andrew Hartman       Boulder County           N/A                 Order                              Order:Supplement to People's         Public
                       AM                                                                                    (Related Document)                 Motion to Strike Catherine
                                                                                                                                                Schieve

       N/A (Details)   02/10/2021 10:42    Andrew Hartman       Boulder County           N/A                 Order                              Order:People's Motion to Correct     Public
                       AM                                                                                    (Related Document)                 Witness Endorsement

       N/A (Details)   02/10/2021 10:41    Andrew Hartman       Boulder County           N/A                 Order                              Order:People's Motion for Order      Public
                       AM                                                                                    (Related Document)                 to Comply with Rule 16 and Rule
                                                                                                                                                17

       N/A (Details)   02/10/2021 10:37    Andrew Hartman       Boulder County           N/A                 Order                              Order:People's Motion to Quash       Public
                       AM                                                                                    (Related Document)                 Subpoena Duces Tecum to the


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                Case 3:23-cv-00073-SMR-WPK
12/21/23, 5:19 PM                                                                       Document      31-2and Party
                                                                                         Register of Actions  Filed    12/29/23
                                                                                                                    Information                                    Page 8 of 20
       Filing ID       Date Filed         Authorizer           Organization
                                                                                        EXHIBIT B
                                                                                        Filing Party        Document                           Document Title                       Document Security
                                                                                                                                               DA's Office

       N/A (Details)   02/10/2021 8:07    Andrew Hartman       Boulder County           N/A                 Order                              Order:People's Motion to Present     Public
                       AM                                                                                   (Related Document)                 Video Testimony of Lara Bianco at
                                                                                                                                               Upcoming Trial

       240755E088F4F   02/08/2021 5:59    Anne Elizabeth       20th Judicial District   The People of the   Notice                             People's Renewed Notice of           Public
                       PM                 Kelly                Attorneys Office         State of Colorado   (Related Document)                 Introduction of Records Pursuant
                                                                                                                                               to C.R.E. 902(11)

       F3D0ECD11C49C   02/08/2021 5:31    Anne Elizabeth       20th Judicial District   The People of the   Exhibit - Attach to Pleading/Doc   Exhibit to People's Addendum to      Protected
                       PM                 Kelly                Attorneys Office         State of Colorado   (Related Document)                 Motion to Strike Testimony of Ken
                                                                                                                                               Stern and Catherine Schieve

       90CBBF73B44D2   02/08/2021 5:30    Anne Elizabeth       20th Judicial District   The People of the   Motion                             Supplement to People's Motion to     Public
                       PM                 Kelly                Attorneys Office         State of Colorado   (Related Document)                 Strike Catherine Schieve

       F81A8F7848E53   02/08/2021 5:28    Adam D Kendall       20th Judicial District   The People of the   Exhibit - Attach to Pleading/Doc   Exhibit 1 - Attached to People's     Protected
                       PM                                      Attorneys Office         State of Colorado   (Related Document)                 Motion to Quash Subpoena
                                                                                                                                               Duces Tecum to the DA's Office

       C61730C616228   02/08/2021 5:09    Adam D Kendall       20th Judicial District   The People of the   Motion to Quash                    People's Motion to Quash             Public
                       PM                                      Attorneys Office         State of Colorado   (Related Document)                 Subpoena Duces Tecum to the
                                                                                                                                               DA's Office

       7998F08D4D00B   02/08/2021 12:12   Anne Elizabeth       20th Judicial District   The People of the   Notice                             NOTICE OF ENDORSED                   Public
                       PM                 Kelly                Attorneys Office         State of Colorado                                      WITNESSES' UPDATED
                                                                                                                                               INFORMATION

       F21E07C9959C5   02/07/2021 7:32    Jonathan S Willett   Law Offices of           Emily Elizabeth     Exhibit - Attach to Pleading/Doc   Attachment to Response to            Protected
                       PM                                      Jonathan S Willett       Cohen                                                  Motion Requesting Compliance
                                                                                                                                               with Rule 16 and 17



                                                                                                            Exhibit - Attach to Pleading/Doc   Exhibit - Attach to Pleading/Doc -   Protected
                                                                                                            (Related Document)                 All of the People's Witness
                                                                                                                                               Endorsements

       A2058B3EF68FD   02/07/2021 7:19    Jonathan S Willett   Law Offices of           Emily Elizabeth     Response                           Response to People's Motion for      Public
                       PM                                      Jonathan S Willett       Cohen               (Related Document)                 the Court to Order Compliance
                                                                                                                                               with Rule 16 and Rule 17

       3C41244C3EDC5   02/07/2021 5:55    Anne Elizabeth       20th Judicial District   The People of the   Exhibit - Attach to Pleading/Doc   Exhibit 4 Motion to Order            Protected
                       PM                 Kelly                Attorneys Office         State of Colorado                                      Compliance

       67E7910F1A15F   02/07/2021 5:54    Anne Elizabeth       20th Judicial District   The People of the   Exhibit - Attach to Pleading/Doc   Exhibit 2 Motion to Order            Protected
                       PM                 Kelly                Attorneys Office         State of Colorado                                      Compliance

       FAC05E3DB30A9   02/07/2021 5:54    Anne Elizabeth       20th Judicial District   The People of the   Exhibit - Attach to Pleading/Doc   Exhibit 3 Motion to Order            Protected
                       PM                 Kelly                Attorneys Office         State of Colorado                                      Compliance

       33A397C4B0778   02/07/2021 5:53    Anne Elizabeth       20th Judicial District   The People of the   Exhibit - Attach to Pleading/Doc   Exhibit 1 Motion to Order            Protected
                       PM                 Kelly                Attorneys Office         State of Colorado   (Related Document)                 Compliance

       E4128A20A4E8A   02/07/2021 5:53    Anne Elizabeth       20th Judicial District   The People of the   Motion                             People's Motion for Order to         Public
                       PM                 Kelly                Attorneys Office         State of Colorado   (Related Document)                 Comply with Rule 16 and Rule 17

       6F107D9562737   02/06/2021 1:31    Anne Elizabeth       20th Judicial District   The People of the   Notice                             People's Motion to Correct           Public
                       PM                 Kelly                Attorneys Office         State of Colorado   (Related Document)                 Witness Endorsement

       4A1EEB493A2E1   02/05/2021 7:49    Anne Elizabeth       20th Judicial District   The People of the   Exhibit - Attach to Pleading/Doc   Bianco Testimony Transcript          Protected
                       PM                 Kelly                Attorneys Office         State of Colorado   (Related Document)

       F569B09FE3623   02/05/2021 7:49    Anne Elizabeth       20th Judicial District   The People of the   Motion                             People's Motion to Strike Untimely   Public
                       PM                 Kelly                Attorneys Office         State of Colorado                                      Witness Disclosure

       2B47AB3A513F5   02/05/2021 7:08    Anne Elizabeth       20th Judicial District   The People of the   Motion                             People's Motion to Present Video     Public
                       PM                 Kelly                Attorneys Office         State of Colorado   (Related Document)                 Testimony of Lara Bianco at
                                                                                                                                               Upcoming Trial

       8063D80026A69   02/03/2021 4:12    Jonathan S Willett   Law Offices of           Emily Elizabeth     Notice                             Notice of Supplemental               Public
                       PM                                      Jonathan S Willett       Cohen                                                  Endorsement

       N/A (Details)   01/15/2021 10:34   Andrew Hartman       Boulder County           N/A                 Minute Order - No Print            Minute Order Re: Status              Public
                       AM                                                                                                                      Conference

       N/A (Details)   01/08/2021 1:29    Andrew Hartman       Boulder County           N/A                 Order                              Order:Motion for Forthwith Ruling    Public
                       PM                                                                                   (Related Document)                 on Return of Restitution Funds

       A63267774D574   12/30/2020 3:28    Anne Elizabeth       20th Judicial District   The People of the   Response                           People's Response to                 Public
                       PM                 Kelly                Attorneys Office         State of Colorado                                      Defendant's Motion for Forthwith
                                                                                                                                               Ruling and Return of Restitution
                                                                                                                                               Funds

       N/A (Details)   12/23/2020 4:55    Andrew Hartman       Boulder County           N/A                 Notice of Hearing                  Notice of Hearing                    Public
                       PM

       N/A (Details)   12/21/2020 8:54    Andrew Hartman       Boulder County           N/A                 Order                              Order:Motion for Status Hearing      Public
                       AM                                                                                   (Related Document)

       N/A             12/18/2020         N/A                  N/A                      N/A                 JTRL Dispo - Mistrial              N/A

       DEBD5D71AF20E   12/17/2020 10:42   Jonathan S Willett   Law Offices of           Emily Elizabeth     Motion                             Motion for Status Hearing            Public
                       AM                                      Jonathan S Willett       Cohen               (Related Document)

       N/A (Details)   12/15/2020 8:19    Andrew Hartman       Boulder County           N/A                 Order                              Order:Motion for Forthwith Ruling    Public
                       AM                                                                                   (Related Document)                 on Return of Restitution Funds




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                Case 3:23-cv-00073-SMR-WPK
12/21/23, 5:19 PM                                                                        Document      31-2and Party
                                                                                          Register of Actions  Filed    12/29/23
                                                                                                                     Information                                    Page 9 of 20
       Filing ID       Date Filed          Authorizer           Organization
                                                                                         EXHIBIT B
                                                                                         Filing Party        Document                           Document Title                         Document Security

       N/A (Details)   12/15/2020 8:16     Andrew Hartman       Boulder County           N/A                 Order                              Order:Motion for Omnibus               Public
                       AM                                                                                    (Related Document)                 Hearing on Discovery Issues

       2055075E7BC65   12/14/2020 2:32     Jonathan S Willett   Law Offices of           Emily Elizabeth     Motion                             Motion for Omnibus Hearing on          Public
                       PM                                       Jonathan S Willett       Cohen               (Related Document)                 Discovery Issues



                                                                                                             Motion                             Motion for Forthwith Ruling on         Public
                                                                                                             (Related Document)                 Return of Restitution Funds

       N/A (Details)   12/11/2020 8:25 AM Andrew Hartman        Boulder County           N/A                 Order                              Order:MOTION TO DISMISS-               Public
                                                                                                             (Related Document)                 DUE PROCESS-OUTRAGEOUS
                                                                                                                                                CONDUCT-BRADYDISCOVERY
                                                                                                                                                VIOLATIONS

       6419165A3E5EE   12/10/2020 11:57    Jonathan S Willett   Law Offices of           Emily Elizabeth     Reply                              Reply to the People's Response         Protected
                       AM                                       Jonathan S Willett       Cohen               (Related Document)                 to Motion to Dismiss



                                                                                                             Exhibit - Attach to Pleading/Doc   Exhibit - A- DHS 8-30-19 letter        Protected
                                                                                                             (Related Document)




                                                                                                             Exhibit - Attach to Pleading/Doc   Exhibit - B- DHS 1-15-20 letter        Protected
                                                                                                             (Related Document)




                                                                                                             Exhibit - Attach to Pleading/Doc   Exhibit - C- emails between            Protected
                                                                                                             (Related Document)                 counsel and evaluator




                                                                                                             Exhibit - Attach to Pleading/Doc   Exhibit - D-excerpt of 8-12-20 t-      Protected
                                                                                                             (Related Document)                 script




                                                                                                             Exhibit - Attach to Pleading/Doc   Exhibit - E- 5-21-20 minute order      Protected
                                                                                                             (Related Document)

       N/A (Details)   12/07/2020 8:12     Andrew Hartman       Boulder County           N/A                 Order                              Order Declaring Mistrial               Public
                       AM

       N/A (Details)   12/03/2020 1:59     Andrew Hartman       Boulder County           N/A                 Order                              Order:Motion for Second                Public
                       PM                                                                                    (Related Document)                 Amended Trial Complaint -
                                                                                                                                                Pending Trial Charges

       52EC06B2D582F   12/03/2020 8:42     Anne Elizabeth       20th Judicial District   The People of the   Motion                             Motion for Second Amended Trial        Public
                       AM                  Kelly                Attorneys Office         State of Colorado   (Related Document)                 Complaint - Pending Trial
                                                                                                                                                Charges

       37A11B11EFE63   12/03/2020 8:41     Anne Elizabeth       20th Judicial District   The People of the   Response                           PEOPLES RESPONSE TO                   Protected
                       AM                  Kelly                Attorneys Office         State of Colorado   (Related Document)                 DEFENDANTS MOTION TO
                                                                                                                                                DISMISS- DUE PROCESS-
                                                                                                                                                OUTRAGEOUS CONDUCT-
                                                                                                                                                BRADY DISCOVERY
                                                                                                                                                VIOLATIONS




                                                                                                             Exhibit - Attach to Pleading/Doc   Exhibit 1                              Protected
                                                                                                             (Related Document)

       N/A (Details)   11/06/2020 11:21    Andrew Hartman       Boulder County           N/A                 Minute Order - No Print            Minute Order Re: Motions Hearing       Public
                       AM

       68DE32ED3C5EA   11/03/2020 2:33 PM Jonathan S Willett    Law Offices of           Emily Elizabeth     Motion                             MOTION TO DISMISS-DUE                  Public
                                                                Jonathan S Willett       Cohen               (Related Document)                 PROCESS-OUTRAGEOUS
                                                                                                                                                CONDUCT-BRADYDISCOVERY
                                                                                                                                                VIOLATIONS




                                                                                                             Exhibit - Attach to Pleading/Doc   Exhibit - A-t-script excerpt 8/12/20   Protected
                                                                                                             (Related Document)




                                                                                                             Exhibit - Attach to Pleading/Doc   Exhibit - B- return to sender          Protected
                                                                                                             (Related Document)                 envelopes




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               Case 3:23-cv-00073-SMR-WPK
12/21/23, 5:19 PM                                                                        Document      31-2 and Filed
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                                                                                         Filing Party        Document                           Document Title                        Document Security


                                                                                                             Exhibit - Attach to Pleading/Doc   Exhibit - C-Garnett Camera Article    Protected
                                                                                                             (Related Document)




                                                                                                             Exhibit - Attach to Pleading/Doc   Exhibit - D-U Visa signed by          Protected
                                                                                                             (Related Document)                 Garnett




                                                                                                             Exhibit - Attach to Pleading/Doc   Exhibit - E- USCIS declaration in     Protected
                                                                                                             (Related Document)                 response DA request




                                                                                                             Exhibit - Attach to Pleading/Doc   Exhibit - F- emails from Victim       Protected
                                                                                                             (Related Document)                 witness unit re U Visas

       N/A             10/01/2020 12:00    N/A                  N/A                      N/A                 JTRL Dispo - Continued             N/A
                       AM

       N/A (Details)   09/28/2020 8:00     Andrew Hartman       Boulder County           N/A                 Order                              Order: Motion to Correct Clerical     Public
                       PM                                                                                    (Related Document)                 Error- Granted

       5B438269E5C20   09/28/2020 12:46    Jonathan S Willett   Law Offices of           Emily Elizabeth     Motion                             Motion to Correct Clerical Error      Public
                       PM                                       Jonathan S Willett       Cohen               (Related Document)

       N/A (Details)   09/23/2020 9:08     Andrew Hartman       Boulder County           N/A                 Order                              Order:Unopposed Motion to Reset       Public
                       AM                                                                                    (Related Document)                 Motions Hearing

       7B143BEE9873E   09/22/2020 3:11 PM Jonathan S Willett    Law Offices of           Emily Elizabeth     Motion                             Unopposed Motion to Reset             Public
                                                                Jonathan S Willett       Cohen               (Related Document)                 Motions Hearing

       N/A (Details)   09/21/2020 8:05     Andrew Hartman       Boulder County           N/A                 Order                              Order Declaring Mistrial              Public
                       AM

       BE7F88A5FFD44   09/04/2020 11:32    Jonathan S Willett   Law Offices of           Emily Elizabeth     Exhibit - Attach to Pleading/Doc   Attachment to Pleading                Protected
                       AM                                       Jonathan S Willett       Cohen

       N/A (Details)   09/04/2020 10:15    Andrew Hartman       Boulder County           N/A                 Order                              Order:Motion to Require Require       Public
                       AM                                                                                    (Related Document)                 Amendment to Trial Counts
                                                                                                                                                5,6,7,9,10 & 12 on Double
                                                                                                                                                Jeopardy Grounds

       FCCDFCE5B8845   09/03/2020 1:45     Jonathan S Willett   Law Offices of           Emily Elizabeth     Motion                             Motion to Require Require             Public
                       PM                                       Jonathan S Willett       Cohen               (Related Document)                 Amendment to Trial Counts
                                                                                                                                                5,6,7,9,10 & 12 on Double
                                                                                                                                                Jeopardy Grounds

       N/A (Details)   08/31/2020 9:31     Andrew Hartman       Boulder County           N/A                 Order                              Order: Amended Complaint              Protected
                       AM                                                                                    (Related Document)                 Reflecting Trial Charges- Granted

       E18342C29103F   08/27/2020 5:31     Anne Elizabeth       20th Judicial District   The People of the   Complaint - Amended                Amended Complaint Reflecting          Protected
                       PM                  Kelly                Attorneys Office         State of Colorado   (Related Document)                 Trial Charges

       N/A (Details)   08/20/2020 4:06     Andrew Hartman       Boulder County           N/A                 Minute Order - No Print            MINUTE ORDER RE: MOTIONS              Public
                       PM                                                                                                                       HEARING

       N/A (Details)   08/12/2020 1:30     Andrew Hartman       Boulder County           N/A                 Minute Order - No Print            Minute Order - Jury trial continued   Public
                       PM

       8CB10FAD26FC1   08/11/2020 11:29    Anne Elizabeth       20th Judicial District   The People of the   Notice                             Notice of Address Change for          Public
                       AM                  Kelly                Attorneys Office         State of Colorado                                      Endorsement of Witness

       E548B7A42E1E9   08/04/2020 4:44     Anne Elizabeth       20th Judicial District   The People of the   Notice                             Notice of Endorsement of Witness      Public
                       PM                  Kelly                Attorneys Office         State of Colorado

       DF96E19D94A56   07/17/2020 11:42    Anne Elizabeth       20th Judicial District   The People of the   Notice                             Notice To Endorse E-File (Jul 17      Public
                       AM                  Kelly                Attorneys Office         State of Colorado                                      2020 11:01 AM)

       B7F7A7FF205D6   07/11/2020 3:46 PM Jonathan S Willett    Law Offices of           Emily Elizabeth     Response                           Response to People's 404(b)           Public
                                                                Jonathan S Willett       Cohen                                                  Notice

                                                                                                             Motion in Limine                   Motion in Limine                      Protected

       60D13117498E8   07/10/2020 7:13     Natischa Rose        Volpe Law LLC            Emily Elizabeth     Entry of Appearance                Entry of Appearance as Co-            Public
                       PM                  Volpe                                         Cohen                                                  Counsel

       A9B684231C212   07/09/2020 8:51     Jonathan S Willett   Law Offices of           Emily Elizabeth     Motion                             Motion in Limine -Prior Consistent    Public
                       PM                                       Jonathan S Willett       Cohen                                                  Statements

       2E064EB09534F   07/09/2020 6:39     Jonathan S Willett   Law Offices of           Emily Elizabeth     Motion                             Motion for Discovery                  Public
                       PM                                       Jonathan S Willett       Cohen

       ADA472FF7FD97   07/09/2020 3:47     Jonathan S Willett   Law Offices of           Emily Elizabeth     Motion                             Motion For Specific Discovery-        Public
                       PM                                       Jonathan S Willett       Cohen                                                  Confrontation and Fundamental
                                                                                                                                                Fairness

       N/A (Details)   07/09/2020 11:29    Andrew Hartman       Boulder County           N/A                 Order                              Order:Motion to Receive the           Public
                       AM                                                                                    (Related Document)                 Benefit of Amendatory Legislation

       E569351E5C0A2   07/08/2020 12:12    Jonathan S Willett   Law Offices of           Emily Elizabeth     Motion                             Motion to Receive the Benefit of      Public
                       PM                                       Jonathan S Willett       Cohen               (Related Document)                 Amendatory Legislation



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               Case 3:23-cv-00073-SMR-WPK
12/21/23, 5:19 PM                                                                       Document      31-2 and Filed
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       N/A (Details)   07/07/2020 12:20   Andrew Hartman       Boulder County           N/A                 Order                              Order: Unopposed Motion to           Public
                       PM                                                                                   (Related Document)                 Continue Deadline for Filing
                                                                                                                                               Motions- Granted

       3CA2C205A2F82   07/06/2020 4:51    Jonathan S Willett   Law Offices of           Emily Elizabeth     Motion                             Unopposed Motion to Continue         Public
                       PM                                      Jonathan S Willett       Cohen               (Related Document)                 Deadline for Filing Motions

       F057AB1BFFF0D   07/06/2020 4:15    Anne Elizabeth       20th Judicial District   The People of the   Notice                             People's Notice of Intent to         Public
                       PM                 Kelly                Attorneys Office         State of Colorado                                      Introduce Evidence Pursuant to
                                                                                                                                               Rule 404(b) and Res Gestae
                                                                                                                                               Evidence

       6DE1863DA6C88   07/02/2020 1:53    Anne Elizabeth       20th Judicial District   The People of the   Notice                             Notice of Endorsement of Witness     Public
                       PM                 Kelly                Attorneys Office         State of Colorado

       526F4184F6B78   06/19/2020 5:21    Anne Elizabeth       20th Judicial District   The People of the   Complaint                          Amended Complaint Reflecting         Public
                       PM                 Kelly                Attorneys Office         State of Colorado                                      Trial Charges

       N/A (Details)   05/21/2020 2:04    Andrew Hartman       Boulder County           N/A                 Minute Order - No Print            Minute Order - Status                Public
                       PM

       N/A (Details)   05/21/2020 2:00    Andrew Hartman       Boulder County           N/A                 Minute Order - No Print            Minute Order - Status Conference     Public
                       PM

       N/A (Details)   05/15/2020 3:26    Andrew Hartman       Boulder County           N/A                 Order                              Order:Motion for an Order Finding    Public
                       PM                                                                                   (Related Document)                 Defendant Competent to Proceed

       N/A (Details)   05/15/2020 3:24    Andrew Hartman       Boulder County           N/A                 Order                              Order:Report - CDHS                  Public
                       PM                                                                                   (Related Document)

       EA6E6F3155E04   05/15/2020 11:27   Jonathan S Willett   Law Offices of           Emily Elizabeth     Motion                             Motion for an Order Finding          Public
                       AM                                      Jonathan S Willett       Cohen               (Related Document)                 Defendant Competent to Proceed

       N/A (Details)   05/12/2020 12:00   Non-Party            N/A                      Non-Party           Report                             Report - CDHS                        Public
                       AM                                                                                   (Related Document)

       N/A (Details)   04/20/2020 12:00   Marizela Cano        Boulder County           N/A                 Order                              Order from CSC - 20SA129 -           Public
                       AM                                                                                                                      Petition Pursuant to C.A.R. 21
                                                                                                                                               Denied

       N/A (Details)   04/17/2020 10:57   Andrew Hartman       Boulder County           N/A                 Order                              Order: Advisory copy of Motion to    Protected
                       AM                                                                                   (Related Document)                 Seal filed in Colo Supreme Court-
                                                                                                                                               Granted

       C40316C3E4265   04/16/2020 4:06    Jonathan S Willett   Law Offices of           Emily Elizabeth     Filing Other                       Advisory copy of Motion to Seal      Protected
                       PM                                      Jonathan S Willett       Cohen               (Related Document)                 filed in Colo Supreme Court

       2821A8BFEF07D   04/16/2020 3:26    Jonathan S Willett   Law Offices of           Emily Elizabeth     Filing Other                       Copy of CAR 21 Petition              Protected
                       PM                                      Jonathan S Willett       Cohen
                                                                                                            Exhibit - Attach to Pleading/Doc   Exhibit List                         Protected




                                                                                                            Exhibit - Attach to Pleading/Doc   Exhibit A order denying motion to    Protected
                                                                                                                                               vacate



                                                                                                            Exhibit - Attach to Pleading/Doc   Exhibit B certificate and ex parte   Sealed
                                                                                                                                               motion



                                                                                                            Exhibit - Attach to Pleading/Doc   Exhibit C transcript                 Protected




                                                                                                            Exhibit - Attach to Pleading/Doc   Exhibit D order of preliminary       Protected
                                                                                                                                               incompetency

       N/A (Details)   03/19/2020 8:43    Andrew Hartman       Boulder County           N/A                 Order                              Order:Motion to Vacate               Public
                       AM                                                                                   (Related Document)                 Preliminary Finding of
                                                                                                                                               Competency-Denial of the Right
                                                                                                                                               to Counsel.

       A262F82C8829C   03/17/2020 8:16    Jonathan S Willett   Law Offices of           Emily Elizabeth     Filing Other                       Supplement to Motion for             Protected
                       PM                                      Jonathan S Willett       Cohen                                                  Forthwith Order

       125B4A8C4D9FD   03/17/2020 7:35    Jonathan S Willett   Law Offices of           Emily Elizabeth     Filing Other                       Supplement as Ordered by the         Protected
                       PM                                      Jonathan S Willett       Cohen                                                  Court

                                                                                                            Motion                             Motion for Forthwith Ruling          Public

       N/A (Details)   03/12/2020 8:08    Andrew Hartman       Boulder County           N/A                 Order                              Order:Motion to Continue Hearing     Public
                       AM                                                                                   (Related Document)

       N/A (Details)   03/11/2020 2:01 PM Andrew Hartman       Boulder County           N/A                 Order                              Order:for Leave to File Motion to    Public
                                                                                                            (Related Document)                 Vacate

       262C5FFD67C1C   03/10/2020 3:42    Jonathan S Willett   Law Offices of           Emily Elizabeth     Motion                             Motion to Vacate Preliminary         Public
                       PM                                      Jonathan S Willett       Cohen               (Related Document)                 Finding of Competency-Denial of
                                                                                                                                               the Right to Counsel.



                                                                                                            Exhibit - Attach to Pleading/Doc   Attachment-transcript of hearing     Protected
                                                                                                            (Related Document)




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12/21/23, 5:19 PM                                                                        Document      31-2 and Filed
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                                                                                                             Motion                             for Leave to File Motion to Vacate   Public
                                                                                                             (Related Document)

       N/A (Details)   03/04/2020 5:20     Andrew Hartman       Boulder County           N/A                 Order                              Order:Motion to Continue Hearing     Public
                       PM                                                                                    (Related Document)

       FE9EFBE7E3F57   03/04/2020 2:32     Jonathan S Willett   Law Offices of           Emily Elizabeth     Motion                             Motion to Continue Hearing           Public
                       PM                                       Jonathan S Willett       Cohen               (Related Document)

       95B9622CBE20A   03/04/2020 1:56     Jonathan S Willett   Law Offices of           Emily Elizabeth     Report                             Status Report                        Protected
                       PM                                       Jonathan S Willett       Cohen
                                                                                                             Exhibit - Attach to Pleading/Doc   Attachments-emails                   Protected

       N/A (Details)   03/03/2020 1:49     Andrew Hartman       Boulder County           N/A                 Order                              Order:Letter - CDHS                  Public
                       PM                                                                                    (Related Document)

       N/A (Details)   03/03/2020 1:11 PM Andrew Hartman        Boulder County           N/A                 Letter                             Letter - CDHS                        Public
                                                                                                             (Related Document)

       N/A (Details)   01/27/2020 5:13     Andrew Hartman       Boulder County           N/A                 Order                              Order: Report filed by CDHS          Suppressed
                       PM                                                                                    (Related Document)

       N/A (Details)   01/24/2020          Marizela Cano        Boulder County           N/A                 Report                             Report filed by CDHS                 Suppressed
                                                                                                             (Related Document)

       N/A (Details)   01/15/2020 1:51     Andrew Hartman       Boulder County           N/A                 Order                              Order: Letter - CDHS                 Public
                       PM                                                                                    (Related Document)

       N/A (Details)   01/15/2020          Non-Party            N/A                      Non-Party           Letter                             Letter - CDHS                        Public
                                                                                                             (Related Document)

       N/A (Details)   01/14/2020 9:21     Andrew Hartman       Boulder County           N/A                 Order                              Order: Motion to Continue            Public
                       AM                                                                                    (Related Document)                 Hearing- Granted

       N/A (Details)   01/14/2020          Andrew Hartman       Boulder County           N/A                 Minute Order - No Print            Minute Order - Hearing vacated       Public

       9ABB628A42A19   01/13/2020 8:43     Jonathan S Willett   Law Offices of           Emily Elizabeth     Motion to Continue (PTY)           Motion to Continue Hearing           Public
                       PM                                       Jonathan S Willett       Cohen               (Related Document)

       N/A (Details)   01/13/2020 2:20     Andrew Hartman       Boulder County           N/A                 Order                              Order: Motion to Continue            Public
                       PM                                                                                    (Related Document)                 Competency Hearing and Status
                                                                                                                                                Report

       9889232BB59A0   01/12/2020 4:52     Jonathan S Willett   Law Offices of           Emily Elizabeth     Motion                             Motion to Continue Competency        Public
                       PM                                       Jonathan S Willett       Cohen               (Related Document)                 Hearing and Status Report

       N/A (Details)   11/19/2019          Andrew Hartman       Boulder County           N/A                 Minute Order - No Print            Minute Order - MOTION TO             Public
                                                                                                                                                WITHDRAW MOTION FOR
                                                                                                                                                COMPETENCY EVALUATION

       N/A (Details)   11/18/2019          Andrew Hartman       Boulder County           N/A                 Minute Order - No Print            Minute Order - Motions               Public

       N/A             11/15/2019          N/A                  N/A                      N/A                 JTRL Dispo - Continued             N/A

       39ED7120A48B3   11/12/2019 5:00 PM Jonathan S Willett    Law Offices of           Emily Elizabeth     Motion                             Motion for Extension of Time and     Public
                                                                Jonathan S Willett       Cohen                                                  Status Report

       N/A (Details)   11/05/2019 10:28    Andrew Hartman       Boulder County           N/A                 Order                              Order: People's Response to          Public
                       AM                                                                                    (Related Document)                 Defendant's Motion to Withdraw
                                                                                                                                                Motion for Competency
                                                                                                                                                Determination

       497DC64377850   11/04/2019 5:17 PM Anne Elizabeth        20th Judicial District   The People of the   Response                           People's Response to                 Public
                                          Kelly                 Attorneys Office         State of Colorado   (Related Document)                 Defendant's Motion to Withdraw
                                                                                                                                                Motion for Competency
                                                                                                                                                Determination

       N/A (Details)   11/04/2019 3:47 PM Andrew Hartman        Boulder County           N/A                 Order                              Order: Motion for Order Permitting   Public
                                                                                                             (Related Document)                 Defendant to Participate by
                                                                                                                                                Telephone at the Next Hearing

       N/A (Details)   11/04/2019 3:01 PM Andrew Hartman        Boulder County           N/A                 Order                              Order: Motion to Withdraw Ex         Public
                                                                                                             (Related Document)                 Parte Motion for Competency
                                                                                                                                                Evaluation

       FC6C7174A7513   11/01/2019 1:10 PM Jonathan S Willett    Law Offices of           Emily Elizabeth     Motion                             Motion for Order Permitting          Public
                                                                Jonathan S Willett       Cohen               (Related Document)                 Defendant to Participate by
                                                                                                                                                Telephone at the Next Hearing

       D18A542622060   11/01/2019 11:19    Jonathan S Willett   Law Offices of           Emily Elizabeth     Motion                             Motion to Withdraw Ex Parte          Public
                       AM                                       Jonathan S Willett       Cohen               (Related Document)                 Motion for Competency
                                                                                                                                                Evaluation

       96F491DB1862F   10/17/2019 4:26     Jonathan S Willett   Law Offices of           Emily Elizabeth     Entry of Appearance                Entry of Appearance                  Public
                       PM                                       Jonathan S Willett       Cohen

       N/A (Details)   09/25/2019 12:00    Andrew Hartman       Boulder County           N/A                 Order                              ORDER RE: APPOINTMENT OF             Public
                       AM                                                                                                                       COUNSEL AT STATE EXPENSE
                                                                                                                                                OTHER THAN THE PUBLIC
                                                                                                                                                DEFENDER IN A CRIMINAL OR
                                                                                                                                                JUVENILE DELINQUENCY
                                                                                                                                                PROCEEDING

       N/A (Details)   09/24/2019 3:34     Norma A Sierra       Boulder County           N/A                 Order                              Order Granting Motion to             Public
                       PM                                                                                    (Related Document)                 Withdraw as Counsel

       5EC4F06A84DE7   09/24/2019 10:44    Melissa Rose Roth    The Frank Law Office     Emily Elizabeth     Motion to Withdraw                 Motion to Withdraw as Counsel        Public
                       AM                                       LLC                      Cohen


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                                                                                                           (Related Document)

       N/A (Details)   09/03/2019 1:40    Andrew Hartman      Boulder County           N/A                 Order                              Order: AMENDED Letter from          Public
                       PM                                                                                  (Related Document)                 CDHS

       N/A (Details)   09/03/2019 12:00   Andrew Hartman      Boulder County           N/A                 Minute Order - No Print            Minute Order - Review hearing       Public
                       AM                                                                                                                     administratively continued

       N/A (Details)   09/03/2019 12:00   Non-Party           N/A                      Non-Party           Letter                             AMENDED Letter from CDHS            Public
                       AM                                                                                  (Related Document)

       N/A             08/30/2019 12:00   N/A                 N/A                      N/A                 JTRL Dispo - Continued             N/A
                       AM

       N/A (Details)   08/27/2019 11:26   Andrew Hartman      Boulder County           N/A                 Order                              Order: Letter - CDHS                Public
                       AM                                                                                  (Related Document)

       N/A (Details)   08/27/2019 12:00   Andrew Hartman      Boulder County           N/A                 Letter                             Letter - CDHS                       Public
                       AM                                                                                  (Related Document)

       N/A (Details)   08/12/2019 8:06    Andrew Hartman      Boulder County           N/A                 Order                              Order: MOTION FOR                   Public
                       AM                                                                                  (Related Document)                 REIMBURSEMENT OF
                                                                                                                                              RESTITUTION PAID
                                                                                                                                              FOLLOWING VACATION OF
                                                                                                                                              CONVICTIONS PURSUANT TO
                                                                                                                                              C.R.S. 18-1.3-703

       1D82F754B429D   08/09/2019 4:31    Melissa Rose Roth   Roth Law LLC             Emily Elizabeth     Motion                             MOTION FOR                          Public
                       PM                                                              Cohen               (Related Document)                 REIMBURSEMENT OF
                                                                                                                                              RESTITUTION PAID
                                                                                                                                              FOLLOWING VACATION OF
                                                                                                                                              CONVICTIONS PURSUANT TO
                                                                                                                                              C.R.S. 18-1.3-703

       N/A (Details)   07/16/2019 12:00   Non-Party           N/A                      Non-Party           Filing Other                       Filing Other                        Public
                       AM

       N/A (Details)   06/27/2019 12:00   Andrew Hartman      Boulder County           N/A                 Minute Order - No Print            Minute Order - Competency           Public
                       AM                                                                                                                     Hearing

       N/A (Details)   06/27/2019 12:00   Andrew Hartman      Boulder County           N/A                 Order for In-Office Competency     Order for In-Office Competency      Public
                       AM                                                                                  Evaluation JDF 33                  Evaluation JDF 33

       N/A (Details)   06/27/2019 12:00   Andrew Hartman      Boulder County           N/A                 Referral for Court Ordered         Referral for Court Ordered          Public
                       AM                                                                                  Observations JDF 31                Observations JDF 31

       N/A             06/27/2019 12:00   N/A                 N/A                      N/A                 Mental Health Stay Ordered         N/A
                       AM

       36959A23B2964   06/11/2019 12:51   Melissa Rose Roth   Roth Law LLC             Emily Elizabeth     Motion for Competency              SUPPLEMENT TO CERTIFICATE           Sealed
                       PM                                                              Cohen               Evaluation                         OF COUNSEL AND EX PARTE
                                                                                                                                              SEALED MOTION TO
                                                                                                                                              DETERMINE COMPETENCY OF
                                                                                                                                              THE ACCUSED PURSUANT TO
                                                                                                                                              C.R.S. 16-8.5-102

       N/A (Details)   06/11/2019 12:00   Andrew Hartman      Boulder County           N/A                 Minute Order - No Print            Minute Order - Hearing set          Public
                       AM                                                                                                                     administratively

       N/A (Details)   06/10/2019 2:50    Andrew Hartman      Boulder County           N/A                 Order                              Order: CERTIFICATE OF               Sealed
                       PM                                                                                  (Related Document)                 COUNSEL AND EX PARTE
                                                                                                                                              SEALED MOTION TO
                                                                                                                                              DETERMINE COMPETENCY OF
                                                                                                                                              THE ACCUSED PURSUANT TO
                                                                                                                                              C.R.S. 16-8.5-102

       E6250A8E6C25D   06/10/2019 8:00    Melissa Rose Roth   Roth Law LLC             Emily Elizabeth     Motion for Competency              CERTIFICATE OF COUNSEL              Sealed
                       AM                                                              Cohen               Evaluation                         AND EX PARTE SEALED
                                                                                                           (Related Document)                 MOTION TO DETERMINE
                                                                                                                                              COMPETENCY OF THE
                                                                                                                                              ACCUSED PURSUANT TO
                                                                                                                                              C.R.S. 16-8.5-102

       N/A (Details)   06/05/2019 9:23    Andrew Hartman      Boulder County           N/A                 Order                              Order: Motion for Order Directing   Public
                       AM                                                                                  (Related Document)                 Defendant's Compliance with
                                                                                                                                              C.R.S. 16-8-103.5

       836F16BDD548B   06/04/2019 4:33    Anne Elizabeth      20th Judicial District   The People of the   Motion                             Motion for Order Directing          Public
                       PM                 Kelly               Attorneys Office         State of Colorado   (Related Document)                 Defendant's Compliance with
                                                                                                                                              C.R.S. 16-8-103.5



                                                                                                           Exhibit - Attach to Pleading/Doc   Exhibit: Civil Complaint Cohen v.   Protected
                                                                                                                                              Louth



                                                                                                           Exhibit - Attach to Pleading/Doc   Exhibit: Fukutaki Report            Protected

       N/A (Details)   05/31/2019 9:37    Andrew Hartman      Boulder County           N/A                 Order                              Order: Reset New Trial Date 11/4-   Public
                       AM                                                                                                                     15/2019

       N/A (Details)   05/30/2019 10:09   Andrew Hartman      Boulder County           N/A                 Order                              Order: Substitution of Counsel-     Protected
                       AM                                                                                  (Related Document)                 Granted

       N/A (Details)   05/30/2019 12:00   Andrew Hartman      Boulder County           N/A                 Order - Case Management            Order - Case Management             Public
                       AM

       N/A (Details)   05/30/2019 12:00   Andrew Hartman      Boulder County           N/A                 Minute Order - No Print            Minute Order - Jury Trial set       Public
                       AM



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       3C187D77A202C   05/29/2019 10:04   Melissa Rose Roth    Roth Law LLC            Emily Elizabeth   Substitution of Counsel            Substitution of Counsel             Protected
                       AM                                                              Cohen             (Related Document)

       A86755C741B95   05/23/2019 12:26   James McKee Aber     James McKee Aber        Emily Elizabeth   Motion                             Motion to Withdraw as Court-        Public
                       PM                                      LLC                     Cohen                                                Appointed Counsel

       N/A (Details)   05/22/2019 2:17    Andrew Hartman       Boulder County          N/A               Order                              Order: Motion to Withdraw Due to    Public
                       PM                                                                                (Related Document)                 a Conflict of Interest

       N/A (Details)   05/22/2019 12:00   Andrew Hartman       Boulder County          N/A               Order                              ORDER RE: APPOINTMENT OF            Public
                       AM                                                                                                                   COUNSEL AT STATE EXPENSE
                                                                                                                                            OTHER THAN THE PUBLIC
                                                                                                                                            DEFENDER IN A CRIMINAL OR
                                                                                                                                            JUVENILE DELINQUENCY
                                                                                                                                            PROCEEDING

       A7068BAE2832C   05/21/2019 9:21    Whitney Lynn Stark   Law Office of Whitney   Emily Elizabeth   Motion to Withdraw                 Motion to Withdraw Due to a         Public
                       PM                                      Stark                   Cohen             (Related Document)                 Conflict of Interest

       A42CACBB78344   05/21/2019 9:18    Whitney Lynn Stark   Law Office of Whitney   Emily Elizabeth   Entry of Appearance                Entry of Appearance and Request     Public
                       PM                                      Stark                   Cohen                                                for Discovery

       N/A (Details)   05/21/2019 12:00   Andrew Hartman       Boulder County          N/A               Order                              ORDER RE: APPOINTMENT OF            Public
                       AM                                                                                                                   COUNSEL AT STATE EXPENSE
                                                                                                                                            OTHER THAN THE PUBLIC
                                                                                                                                            DEFENDER IN A CRIMINAL OR
                                                                                                                                            JUVENILE DELINQUENCY
                                                                                                                                            PROCEEDING

       N/A (Details)   05/21/2019 12:00   Andrew Hartman       Boulder County          N/A               Minute Order - No Print            Minute Order - ADC appointed        Public
                       AM

       47F5E1DBFD792   05/14/2019 3:05    Nicole Collins       Boulder Public          Emily Elizabeth   Application - CAC/State Paid       Application - Court Appointed       Suppressed
                       PM                                      Defenders Office        Cohen             Professional                       Counsel




                                                                                                         Motion to Withdraw                 Motion to Withdraw Public           Public
                                                                                                                                            Defender and for appointment of
                                                                                                                                            counsel

       N/A (Details)   05/13/2019 10:50   Andrew Hartman       Boulder County          N/A               Order                              Order: Mandate from Appeals         Public
                       AM                                                                                (Related Document)                 Court - 15CA982 - Judgment
                                                                                                                                            Reversed and Case Remanded
                                                                                                                                            with Directions

       N/A (Details)   05/10/2019 12:00   Non-Party            N/A                     Non-Party         Mandate from Appeals Court         Mandate from Appeals Court -        Public
                       AM                                                                                (Related Document)                 15CA982 - Judgment Reversed
                                                                                                                                            and Case Remanded with
                                                                                                                                            Directions

       N/A             05/06/2019 12:00   N/A                  N/A                     N/A               Reopen - Post Judgment             N/A
                       AM

       N/A (Details)   01/11/2018 10:23   Andrew Ross          Boulder County          N/A               Order                              Order: Unopposed Motion to          Public
                       AM                 Macdonald                                                      (Related Document)                 Modify Conditions of Probation
                                                                                                                                            w/attachment

       929B7E43C9D00   01/10/2018 9:34    Mark D. Evans        Colorado State Public   Emily Elizabeth   Motion                             Unopposed Motion to Modify          Public
                       AM                                      Defender Appellate      Cohen             (Related Document)                 Conditions of Probation
                                                               Division                                                                     w/attachment


                                                                                                         Exhibit - Attach to Pleading/Doc   Attachment A to Unopposed           Suppressed
                                                                                                                                            Motion to Modify Conditions of
                                                                                                                                            Probation

       N/A (Details)   08/18/2017 12:00   Non-Party            N/A                     Non-Party         Filing Other                       Receipt for Second Supplemental     Public
                       AM                                                                                                                   Trial Court Record

       N/A (Details)   08/07/2017 12:00   Marizela Cano        Boulder County          N/A               Certificate                        Certificate of Mailing Second       Public
                       AM                                                                                                                   Suppemental Record

       N/A (Details)   08/07/2017 12:00   Marizela Cano        Boulder County          N/A               Notice                             Notice of Certification of Second   Public
                       AM                                                                                                                   Supplemental Electronic Record

       N/A (Details)   07/11/2017 12:00   Marizela Cano        Boulder County          N/A               Order                              Order from CCA - 15CA982 -          Public
                       AM                                                                                                                   Order to Supplement the Record

       N/A (Details)   06/14/2017 12:00   N/A                  N/A                     Emily Elizabeth   Motion                             Courtesy Copy from CCA -            Public
                       AM                                                              Cohen                                                15CA982 - Second Motion to
                                                                                                                                            Supplement the Record

       N/A (Details)   06/12/2017 12:00   Non-Party            N/A                     Non-Party         Filing Other                       Receipt for Supplemental Trial      Public
                       AM                                                                                                                   Court Record

       N/A (Details)   06/02/2017 12:00   Marizela Cano        Boulder County          N/A               Certificate                        Certificate of Mailing Electronic   Public
                       AM                                                                                                                   Record

       N/A (Details)   06/02/2017 12:00   Marizela Cano        Boulder County          N/A               Notice                             Notice of Certification of          Public
                       AM                                                                                                                   Electronic Record

       N/A (Details)   05/22/2017 1:33    Probation            N/A                     N/A               Report                             GPS Monitoring Protocol for         Protected
                       PM                                                                                                                   Defendant

       N/A (Details)   05/22/2017 1:31    Probation            N/A                     N/A               Terms and Conditions of Prob       Terms and Conditions of Prob        Public
                       PM

       N/A (Details)   05/22/2017 11:53   Probation            N/A                     N/A               Filing Other                       Wavier of Extradition as a          Protected
                       AM


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               Case 3:23-cv-00073-SMR-WPK
12/21/23, 5:19 PM                                                                   Document      31-2 and Filed
                                                                                      Register of Actions          12/29/23
                                                                                                           Party Information                                Page 15 of 20
       Filing ID       Date Filed         Authorizer       Organization
                                                                                     EXHIBIT B
                                                                                    Filing Party        Document                           Document Title                       Document Security
                                                                                                                                           condition of Probation

       N/A (Details)   05/17/2017 3:38    Patrick Butler   Boulder County           N/A                 Order                              Order re Second Amended Motion       Public
                       PM                                                                                                                  for Restitution

       N/A (Details)   05/17/2017 3:36    Patrick Butler   Boulder County           N/A                 Order                              Order: UNOPPOSED MOTION              Public
                       PM                                                                               (Related Document)                 TO AMEND TERMS AND
                                                                                                                                           CONDITIONS OF PROBATION
                                                                                                                                           TO CONVERT WORK RELEASE
                                                                                                                                           TO GPS

       8AF6EC2577046   05/17/2017 12:57   Catrina Marie    20th Judicial District   The People of the   Motion                             UNOPPOSED MOTION TO                  Public
                       PM                 Weigel           Attorneys Office         State of Colorado   (Related Document)                 AMEND TERMS AND
                                                                                                                                           CONDITIONS OF PROBATION
                                                                                                                                           TO CONVERT WORK RELEASE
                                                                                                                                           TO GPS

       N/A             05/17/2017 12:00   N/A              N/A                      N/A                 Mittimus Issued - Amended          N/A
                       AM

       N/A (Details)   05/15/2017 4:17    Andrew Hartman   Boulder County           N/A                 Order                              Order: Motion to Settle the Record   Public
                       PM                                                                               (Related Document)

       8962FBD5F3DB8   05/12/2017 3:55    John F Peters    20th Judicial District   The People of the   Response                           People's Response to                 Public
                       PM                                  Attorneys Office         State of Colorado                                      Defendant's Motion to Settle the
                                                                                                                                           Record

       N/A (Details)   05/02/2017 3:38    Patrick Butler   Boulder County           N/A                 Order                              Order: Motion to Transfer Work       Public
                       PM                                                                               (Related Document)                 Release and Probation to El Paso
                                                                                                                                           County

       751EE9A0412E7   05/02/2017 12:04   Mark D. Evans    Colorado State Public    Emily Elizabeth     Motion                             Motion to Transfer Work Release      Public
                       PM                                  Defender Appellate       Cohen               (Related Document)                 and Probation to El Paso County
                                                           Division


                                                                                                        Filing Other                       Attachment A - Work Release          Protected
                                                                                                                                           Information


                                                                                                        Filing Other                       Attachment B - Approval Letter       Protected

       N/A (Details)   05/01/2017 3:34    Andrew Hartman   Boulder County           N/A                 Order                              Order: Motion to Settle the Record   Public
                       PM                                                                               (Related Document)

       N/A (Details)   05/01/2017 12:00   N/A              N/A                      Emily Elizabeth     Motion                             Courtesy Copy from CCA -             Public
                       AM                                                           Cohen                                                  15CA982 - Motion to Supplement
                                                                                                                                           the Record and for Extension of
                                                                                                                                           Time

       94A8E159E16FC   04/28/2017 2:05    Mark D. Evans    Colorado State Public    Emily Elizabeth     Motion                             Motion to Settle the Record          Public
                       PM                                  Defender Appellate       Cohen               (Related Document)
                                                           Division


                                                                                                        Exhibit - Attach to Pleading/Doc   Attachment A - Defendant's           Protected
                                                                                                                                           Statement of Proceedings



                                                                                                        Exhibit - Attach to Pleading/Doc   Attachment B - Juror Question #1     Protected




                                                                                                        Exhibit - Attach to Pleading/Doc   Attachment C - December 11,          Protected
                                                                                                                                           2014 (relevant portion of
                                                                                                                                           transcript)




                                                                                                        Exhibit - Attach to Pleading/Doc   Attachment D - Amended Jury          Protected
                                                                                                                                           Trial Minute Order



                                                                                                        Filing Other                       Defendant's Statement of             Protected
                                                                                                                                           Proceedings

       N/A             04/06/2017 12:00   N/A              N/A                      N/A                 Filing Other                       N/A
                       AM

       N/A (Details)   03/31/2017 12:00   Non-Party        N/A                      Non-Party           Return Mail                        Return Mail - Order: Second          Public
                       AM                                                                               (Related Document)                 Amended Motion for Restitution

       N/A (Details)   03/31/2017 12:00   Non-Party        N/A                      Non-Party           Return Mail                        Return Mail- Order: Amended          Public
                       AM                                                                               (Related Document)                 Motion and Spec Sheet for
                                                                                                                                           Restitution

       N/A (Details)   03/22/2017 8:02    Patrick Butler   Boulder County           N/A                 Order                              Order: Second Amended Motion         Public
                       AM                                                                               (Related Document)                 for Restitution

       278F4CC5A4D92   03/21/2017 5:05    Jane Walsh       20th Judicial District   The People of the   Motion                             Second Amended Motion for            Public
                       PM                                  Attorneys Office         State of Colorado   (Related Document)                 Restitution

       N/A (Details)   03/16/2017 1:19    Patrick Butler   Boulder County           N/A                 Order                              Order: Amended Motion and Spec       Public
                       PM                                                                               (Related Document)                 Sheet for Restitution

       3F6120CE4C1D7   03/15/2017 2:34    Jane Walsh       20th Judicial District   The People of the   Motion                             Amended Motion and Spec Sheet        Public
                       PM                                  Attorneys Office         State of Colorado   (Related Document)                 for Restitution

       N/A             07/12/2016 12:00   N/A              N/A                      N/A                 Order                              N/A
                       AM



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               Case 3:23-cv-00073-SMR-WPK
12/21/23, 5:19 PM                                                 Document      31-2 and Filed
                                                                    Register of Actions          12/29/23
                                                                                         Party Information                          Page 16 of 20
       Filing ID   Date Filed         Authorizer   Organization
                                                                   EXHIBIT B
                                                                  Filing Party   Document                          Document Title           Document Security

       N/A         07/08/2016 12:00   N/A          N/A            N/A            Letter                            N/A
                   AM

       N/A         06/01/2016 12:00   N/A          N/A            N/A            Order                             N/A
                   AM

       N/A         05/31/2016 12:00   N/A          N/A            N/A            Response                          N/A
                   AM

       N/A         05/09/2016 12:00   N/A          N/A            N/A            Order                             N/A
                   AM

       N/A         05/05/2016 12:00   N/A          N/A            N/A            Motion                            N/A
                   AM

       N/A         03/10/2016         N/A          N/A            N/A            Motion                            N/A

       N/A         03/10/2016         N/A          N/A            N/A            Petition                          N/A

       N/A         03/08/2016         N/A          N/A            N/A            Order                             N/A

       N/A         03/08/2016         N/A          N/A            N/A            Order                             N/A

       N/A         03/04/2016         N/A          N/A            N/A            Petition                          N/A

       N/A         10/27/2015 12:00   N/A          N/A            N/A            Response                          N/A
                   AM

       N/A         10/21/2015 12:00   N/A          N/A            N/A            Order                             N/A
                   AM

       N/A         10/20/2015 12:00   N/A          N/A            N/A            Notice                            N/A
                   AM

       N/A         10/19/2015 12:00   N/A          N/A            N/A            Filing Other                      N/A
                   AM

       N/A         10/19/2015 12:00   N/A          N/A            N/A            Order                             N/A
                   AM

       N/A         10/08/2015 12:00   N/A          N/A            N/A            Order                             N/A
                   AM

       N/A         10/08/2015 12:00   N/A          N/A            N/A            Motion                            N/A
                   AM

       N/A         09/14/2015 12:00   N/A          N/A            N/A            Final Order of Judgment           N/A
                   AM

       N/A         09/14/2015 12:00   N/A          N/A            N/A            Notice                            N/A
                   AM

       N/A         09/08/2015 12:00   N/A          N/A            N/A            Motion                            N/A
                   AM

       N/A         08/21/2015 12:00   N/A          N/A            N/A            Case Closed                       N/A
                   AM

       N/A         08/21/2015 12:00   N/A          N/A            N/A            Reopen - Post Judgment            N/A
                   AM

       N/A         07/28/2015 12:00   N/A          N/A            N/A            Order                             N/A
                   AM

       N/A         07/06/2015 12:00   N/A          N/A            N/A            Final Order of Judgment           N/A
                   AM

       N/A         06/16/2015 12:00   N/A          N/A            N/A            Designation of Record on Appeal   N/A
                   AM

       N/A         06/12/2015 12:00   N/A          N/A            N/A            Advisory Notice - NAPF            N/A
                   AM

       N/A         06/11/2015 12:00   N/A          N/A            N/A            Notice of Appeal                  N/A
                   AM

       N/A         05/26/2015 12:00   N/A          N/A            N/A            Final Order of Judgment           N/A
                   AM

       N/A         04/30/2015 12:00   N/A          N/A            N/A            Return of Service                 N/A
                   AM

       N/A         04/24/2015 12:00   N/A          N/A            N/A            Minute Order - No Print           N/A
                   AM

       N/A         04/24/2015 12:00   N/A          N/A            N/A            Order                             N/A
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       N/A         04/24/2015 12:00   N/A          N/A            N/A            Final Order of Judgment           N/A
                   AM

       N/A         04/24/2015 12:00   N/A          N/A            N/A            Mittimus - Issued                 N/A
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       N/A         04/24/2015 12:00   N/A          N/A            N/A            Transport Order                   N/A
                   AM

       N/A         04/24/2015 12:00   N/A          N/A            N/A            Case Closed                       N/A
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       N/A         04/24/2015 12:00   N/A          N/A            N/A            Warrant Canceled                  N/A
                   AM

       N/A         04/23/2015 12:00   N/A          N/A            N/A            Law Enforcement Warrant Cancel    N/A
                   AM

       N/A         04/22/2015 12:00   N/A          N/A            N/A            Report                            N/A
                   AM

       N/A         04/16/2015 12:00   N/A          N/A            N/A            Motion                            N/A
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               Case 3:23-cv-00073-SMR-WPK
12/21/23, 5:19 PM                                                 Document      31-2 and Filed
                                                                    Register of Actions          12/29/23
                                                                                         Party Information                            Page 17 of 20
       Filing ID   Date Filed         Authorizer   Organization
                                                                   EXHIBIT B
                                                                  Filing Party   Document                            Document Title           Document Security

       N/A         04/16/2015 12:00   N/A          N/A            N/A            Report                              N/A
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       N/A         04/16/2015 12:00   N/A          N/A            N/A            Warrant - Detained                  N/A
                   AM

       N/A         04/14/2015 12:00   N/A          N/A            N/A            Report                              N/A
                   AM

       N/A         04/13/2015 12:00   N/A          N/A            N/A            Warrant - Failure to Appear         N/A
                   AM

       N/A         04/13/2015 12:00   N/A          N/A            N/A            Notice                              N/A
                   AM

       N/A         04/13/2015 12:00   N/A          N/A            N/A            Minute Order - No Print             N/A
                   AM

       N/A         04/10/2015 12:00   N/A          N/A            N/A            Letter                              N/A
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       N/A         04/08/2015 12:00   N/A          N/A            N/A            Minute Order - No Print             N/A
                   AM

       N/A         04/08/2015 12:00   N/A          N/A            N/A            Motion                              N/A
                   AM

       N/A         04/08/2015 12:00   N/A          N/A            N/A            Letter                              N/A
                   AM

       N/A         04/08/2015 12:00   N/A          N/A            N/A            Order                               N/A
                   AM

       N/A         04/07/2015 12:00   N/A          N/A            N/A            Filing Other                        N/A
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       N/A         04/07/2015 12:00   N/A          N/A            N/A            Motion                              N/A
                   AM

       N/A         04/07/2015 12:00   N/A          N/A            N/A            Notice                              N/A
                   AM

       N/A         04/07/2015 12:00   N/A          N/A            N/A            Notice                              N/A
                   AM

       N/A         04/07/2015 12:00   N/A          N/A            N/A            Report                              N/A
                   AM

       N/A         04/07/2015 12:00   N/A          N/A            N/A            Motion                              N/A
                   AM

       N/A         04/03/2015 12:00   N/A          N/A            N/A            Response                            N/A
                   AM

       N/A         04/02/2015 12:00   N/A          N/A            N/A            Pre-Sentence Investigative Report   N/A
                   AM                                                            Filed

       N/A         04/01/2015 12:00   N/A          N/A            N/A            Objection                           N/A
                   AM

       N/A         03/25/2015 12:00   N/A          N/A            N/A            Motion                              N/A
                   AM

       N/A         03/13/2015 12:00   N/A          N/A            N/A            Letter                              N/A
                   AM

       N/A         03/11/2015 12:00   N/A          N/A            N/A            Order                               N/A
                   AM

       N/A         03/11/2015 12:00   N/A          N/A            N/A            Minute Order - No Print             N/A
                   AM

       N/A         02/18/2015         N/A          N/A            N/A            Entry of Appearance                 N/A

       N/A         02/12/2015         N/A          N/A            N/A            Minute Order - No Print             N/A

       N/A         02/11/2015         N/A          N/A            N/A            Filing Other                        N/A

       N/A         02/06/2015         N/A          N/A            N/A            Motion                              N/A

       N/A         02/05/2015         N/A          N/A            N/A            Minute Order - No Print             N/A

       N/A         12/16/2014         N/A          N/A            N/A            Consent                             N/A

       N/A         12/16/2014         N/A          N/A            N/A            Minute Order - No Print             N/A

       N/A         12/15/2014         N/A          N/A            N/A            JTRL Dispo - Guilty                 N/A

       N/A         12/15/2014         N/A          N/A            N/A            ISP Screening Request               N/A

       N/A         12/15/2014         N/A          N/A            N/A            PSI Ordered                         N/A

       N/A         11/28/2014         N/A          N/A            N/A            Motion                              N/A

       N/A         11/28/2014         N/A          N/A            N/A            Motion                              N/A

       N/A         11/28/2014         N/A          N/A            N/A            Brief                               N/A

       N/A         11/26/2014         N/A          N/A            N/A            Complaint - Amended                 N/A

       N/A         11/26/2014         N/A          N/A            N/A            Minute Order - No Print             N/A

       N/A         11/26/2014         N/A          N/A            N/A            Order                               N/A

       N/A         11/25/2014         N/A          N/A            N/A            Reply                               N/A

       N/A         11/20/2014         N/A          N/A            N/A            Motion                              N/A


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               Case 3:23-cv-00073-SMR-WPK
12/21/23, 5:19 PM                                                 Document      31-2 and Filed
                                                                    Register of Actions          12/29/23
                                                                                         Party Information                  Page 18 of 20
       Filing ID   Date Filed         Authorizer   Organization
                                                                   EXHIBIT B
                                                                  Filing Party   Document                  Document Title           Document Security

       N/A         11/19/2014         N/A          N/A            N/A            Motion                    N/A

       N/A         11/19/2014         N/A          N/A            N/A            Request                   N/A

       N/A         11/18/2014         N/A          N/A            N/A            Notice                    N/A

       N/A         11/13/2014         N/A          N/A            N/A            Motion                    N/A

       N/A         11/10/2014         N/A          N/A            N/A            Motion                    N/A

       N/A         11/06/2014         N/A          N/A            N/A            Motion                    N/A

       N/A         11/06/2014         N/A          N/A            N/A            Motion                    N/A

       N/A         11/06/2014         N/A          N/A            N/A            Motion                    N/A

       N/A         11/06/2014         N/A          N/A            N/A            Motion                    N/A

       N/A         11/05/2014         N/A          N/A            N/A            Order                     N/A

       N/A         11/05/2014         N/A          N/A            N/A            Order                     N/A

       N/A         11/05/2014         N/A          N/A            N/A            Order                     N/A

       N/A         11/03/2014         N/A          N/A            N/A            Motion                    N/A

       N/A         10/31/2014 12:00   N/A          N/A            N/A            Motion                    N/A
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       N/A         10/30/2014 12:00   N/A          N/A            N/A            Minute Order - No Print   N/A
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       N/A         10/29/2014 12:00   N/A          N/A            N/A            Reply                     N/A
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       N/A         10/29/2014 12:00   N/A          N/A            N/A            Reply                     N/A
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       N/A         10/28/2014 12:00   N/A          N/A            N/A            Order                     N/A
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       N/A         10/24/2014 12:00   N/A          N/A            N/A            Notice                    N/A
                   AM

       N/A         10/24/2014 12:00   N/A          N/A            N/A            Motion                    N/A
                   AM

       N/A         10/23/2014 12:00   N/A          N/A            N/A            Order                     N/A
                   AM

       N/A         10/23/2014 12:00   N/A          N/A            N/A            Order                     N/A
                   AM

       N/A         10/23/2014 12:00   N/A          N/A            N/A            Order                     N/A
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       N/A         10/23/2014 12:00   N/A          N/A            N/A            Order                     N/A
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       N/A         10/23/2014 12:00   N/A          N/A            N/A            Order                     N/A
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       N/A         10/23/2014 12:00   N/A          N/A            N/A            Order                     N/A
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       N/A         10/23/2014 12:00   N/A          N/A            N/A            Motion                    N/A
                   AM

       N/A         10/21/2014 12:00   N/A          N/A            N/A            Objection                 N/A
                   AM

       N/A         10/21/2014 12:00   N/A          N/A            N/A            Response                  N/A
                   AM

       N/A         10/21/2014 12:00   N/A          N/A            N/A            Response                  N/A
                   AM

       N/A         10/21/2014 12:00   N/A          N/A            N/A            Motion                    N/A
                   AM

       N/A         10/21/2014 12:00   N/A          N/A            N/A            Motion                    N/A
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       N/A         10/21/2014 12:00   N/A          N/A            N/A            Motion                    N/A
                   AM

       N/A         10/20/2014 12:00   N/A          N/A            N/A            Order                     N/A
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       N/A         10/20/2014 12:00   N/A          N/A            N/A            Order                     N/A
                   AM

       N/A         10/15/2014 12:00   N/A          N/A            N/A            Motion                    N/A
                   AM

       N/A         10/15/2014 12:00   N/A          N/A            N/A            Motion                    N/A
                   AM

       N/A         10/15/2014 12:00   N/A          N/A            N/A            Motion                    N/A
                   AM

       N/A         10/15/2014 12:00   N/A          N/A            N/A            Notice                    N/A
                   AM

       N/A         09/30/2014 12:00   N/A          N/A            N/A            Order                     N/A
                   AM

       N/A         09/30/2014 12:00   N/A          N/A            N/A            Notice                    N/A
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               Case 3:23-cv-00073-SMR-WPK
12/21/23, 5:19 PM                                                 Document      31-2 and Filed
                                                                    Register of Actions          12/29/23
                                                                                         Party Information                  Page 19 of 20
       Filing ID   Date Filed         Authorizer   Organization
                                                                   EXHIBIT B
                                                                  Filing Party   Document                  Document Title           Document Security

       N/A         09/30/2014 12:00   N/A          N/A            N/A            Notice                    N/A
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       N/A         09/30/2014 12:00   N/A          N/A            N/A            Order                     N/A
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       N/A         09/29/2014 12:00   N/A          N/A            N/A            Motion                    N/A
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       N/A         09/29/2014 12:00   N/A          N/A            N/A            Motion                    N/A
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       N/A         09/29/2014 12:00   N/A          N/A            N/A            Motion                    N/A
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       N/A         09/29/2014 12:00   N/A          N/A            N/A            Motion                    N/A
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       N/A         09/29/2014 12:00   N/A          N/A            N/A            Motion                    N/A
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       N/A         09/29/2014 12:00   N/A          N/A            N/A            Motion                    N/A
                   AM

       N/A         09/29/2014 12:00   N/A          N/A            N/A            Request                   N/A
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       N/A         09/29/2014 12:00   N/A          N/A            N/A            Motion                    N/A
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       N/A         09/29/2014 12:00   N/A          N/A            N/A            Motion                    N/A
                   AM

       N/A         09/29/2014 12:00   N/A          N/A            N/A            Motion                    N/A
                   AM

       N/A         09/22/2014 12:00   N/A          N/A            N/A            Motion                    N/A
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       N/A         09/15/2014 12:00   N/A          N/A            N/A            Order                     N/A
                   AM

       N/A         09/11/2014 12:00   N/A          N/A            N/A            Motion                    N/A
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       N/A         09/11/2014 12:00   N/A          N/A            N/A            Order                     N/A
                   AM

       N/A         09/02/2014 12:00   N/A          N/A            N/A            Order                     N/A
                   AM

       N/A         09/02/2014 12:00   N/A          N/A            N/A            Order                     N/A
                   AM

       N/A         09/02/2014 12:00   N/A          N/A            N/A            Motion                    N/A
                   AM

       N/A         08/27/2014 12:00   N/A          N/A            N/A            Motion                    N/A
                   AM

       N/A         08/27/2014 12:00   N/A          N/A            N/A            Motion                    N/A
                   AM

       N/A         08/21/2014 12:00   N/A          N/A            N/A            Notice                    N/A
                   AM

       N/A         08/07/2014 12:00   N/A          N/A            N/A            Filing Other              N/A
                   AM

       N/A         07/29/2014 12:00   N/A          N/A            N/A            Motion                    N/A
                   AM

       N/A         07/18/2014 12:00   N/A          N/A            N/A            Minute Order - No Print   N/A
                   AM

       N/A         07/08/2014 12:00   N/A          N/A            N/A            Filing Other              N/A
                   AM

       N/A         06/03/2014 12:00   N/A          N/A            N/A            Notice                    N/A
                   AM

       N/A         06/02/2014 12:00   N/A          N/A            N/A            Order                     N/A
                   AM

       N/A         05/30/2014 12:00   N/A          N/A            N/A            Notice                    N/A
                   AM

       N/A         05/30/2014 12:00   N/A          N/A            N/A            Notice                    N/A
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       N/A         05/30/2014 12:00   N/A          N/A            N/A            Minute Order - No Print   N/A
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       N/A         05/29/2014 12:00   N/A          N/A            N/A            Notice                    N/A
                   AM

       N/A         05/29/2014 12:00   N/A          N/A            N/A            Notice                    N/A
                   AM

       N/A         05/29/2014 12:00   N/A          N/A            N/A            Notice                    N/A
                   AM

       N/A         05/29/2014 12:00   N/A          N/A            N/A            Notice                    N/A
                   AM

       N/A         05/28/2014 12:00   N/A          N/A            N/A            Notice                    N/A
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       N/A         05/28/2014 12:00   N/A          N/A            N/A            Notice                    N/A
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       N/A         05/28/2014 12:00   N/A          N/A            N/A            Notice                    N/A
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               Case 3:23-cv-00073-SMR-WPK
12/21/23, 5:19 PM                                                                   Document      31-2 and Filed
                                                                                      Register of Actions          12/29/23
                                                                                                           Party Information                         Page 20 of 20
       Filing ID           Date Filed         Authorizer     Organization
                                                                                     EXHIBIT B
                                                                                    Filing Party   Document                         Document Title                  Document Security

       N/A                 05/28/2014 12:00   N/A            N/A                    N/A            Notice                           N/A
                           AM

       N/A                 05/28/2014 12:00   N/A            N/A                    N/A            Notice                           N/A
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       N/A                 05/28/2014 12:00   N/A            N/A                    N/A            Notice                           N/A
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       N/A                 05/28/2014 12:00   N/A            N/A                    N/A            Notice                           N/A
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       N/A                 05/28/2014 12:00   N/A            N/A                    N/A            Notice                           N/A
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       N/A                 05/27/2014 12:00   N/A            N/A                    N/A            Motion                           N/A
                           AM

       N/A                 05/27/2014 12:00   N/A            N/A                    N/A            Motion                           N/A
                           AM

       N/A                 05/15/2014 12:00   N/A            N/A                    N/A            Notice                           N/A
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       N/A                 05/15/2014 12:00   N/A            N/A                    N/A            Notice                           N/A
                           AM

       N/A                 05/15/2014 12:00   N/A            N/A                    N/A            Notice                           N/A
                           AM

       N/A                 05/08/2014 12:00   N/A            N/A                    N/A            Order                            N/A
                           AM

       N/A                 05/08/2014 12:00   N/A            N/A                    N/A            Order                            N/A
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       N/A                 05/07/2014 12:00   N/A            N/A                    N/A            Motion                           N/A
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       N/A                 05/07/2014 12:00   N/A            N/A                    N/A            Motion                           N/A
                           AM

       N/A                 04/07/2014 12:00   N/A            N/A                    N/A            Complaint                        N/A
                           AM

       N/A                 04/07/2014 12:00   N/A            N/A                    N/A            Notice                           N/A
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       N/A                 04/03/2014 12:00   N/A            N/A                    N/A            Filing Other                     N/A
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       N/A                 04/03/2014 12:00   N/A            N/A                    N/A            Motion and Order                 N/A
                           AM

       N/A                 04/03/2014 12:00   N/A            N/A                    N/A            Order                            N/A
                           AM

       N/A                 04/03/2014 12:00   N/A            N/A                    N/A            Bindover to District Court w/o   N/A
                           AM                                                                      Prelim

       N/A                 04/03/2014 12:00   N/A            N/A                    N/A            Notice of Appearance             N/A
                           AM

       N/A                 04/03/2014 12:00   N/A            N/A                    N/A            Notice of Appearance             N/A
                           AM

       N/A                 03/31/2014 12:00   N/A            N/A                    N/A            Motion and Order                 N/A
                           AM

       N/A                 03/26/2014 12:00   N/A            N/A                    N/A            Motion                           N/A
                           AM

       N/A                 03/25/2014 12:00   N/A            N/A                    N/A            Entry of Appearance              N/A
                           AM

       N/A                 03/14/2014 12:00   N/A            N/A                    N/A            Order                            N/A
                           AM

       N/A                 03/14/2014 12:00   N/A            N/A                    N/A            Felony Complaint Filed           N/A
                           AM

       N/A                 03/05/2014         N/A            N/A                    N/A            Warrant Canceled                 N/A

       N/A                 03/03/2014         N/A            N/A                    N/A            Release Warrant on Bond          N/A

       N/A                 02/27/2014         N/A            N/A                    N/A            Warrant Upon Affidavit           N/A

       N/A                 02/27/2014         N/A            N/A                    N/A            Affidavit for Arrest Warrant     N/A

       N/A                 01/24/2014         N/A            N/A                    N/A            Response                         N/A



      Party Information
       Party Name                                          Party Type                                 Party Status                         Attorney Name

       Emily Elizabeth Cohen                               Defendant                                  Active                               SUZAN TRINH ALMONY (Law Office of Suzan
                                                                                                                                           Trinh Almony)

       Kathleen Mcguire                                    Other Interested Party                     Active                               KATHLEEN SINNOTT (Sinnott Law Office LLC)

       The People of the State of Colorado                 People                                     Active                               MICHELLE LYNN SUDANO (20th Judicial District
                                                                                                                                           Attorneys Office)




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